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 5                              UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF WASHINGTON
 6                                       AT SEATTLE
 7
     AMAZON.COM, INC., a Delaware
 8   corporation, AMAZON TECHNOLOGIES,                    CASE NO.
     INC., a Nevada corporation; and AMAZON
 9   SERVICES, LLC, a Nevada limited liability            COMPLAINT
     company,
10
                                   Plaintiffs,
11

12                   v.

13   ONLINE SECRETS, INC., a corporation,
     NATURAL HEALTH USA, LLC, a limited
14   liability company, HERITAGE FUNDING
15   CORP., a corporation, MICHAEL J.
     GAZZOLA, an individual, MATTHEW S.
16   BEHDJOU, an individual, and DOE
     Companies 1 – 20,
17
                                   Defendants.
18
19
            Amazon.com, Inc. (“Amazon”) is one of the most well-known and trusted companies in
20
     the world. Defendants Michael Gazzola and Matthew Behdjou, by and through their various
21
     corporations and limited liability companies (collectively “Defendants”), have exploited
22
     Amazon’s brand to perpetrate a widespread get-rich-quick scheme that revolves around seeking to
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     fake, and inducing others to fake, product reviews, and other dishonest techniques that violate
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     Amazon’s third-party seller agreements. Through deceptive marketing, Defendants use high
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26

     COMPLAINT - 1
     CASE NO.
                                                                         SUMMIT LAW GROUP, PLLC
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 1   pressure sales tactics to swindle Amazon third-party sellers (or prospective sellers) into purchasing

 2   Defendants’ services.

 3          Defendants accomplish their scam in part by duping consumers into believing that they are

 4   affiliated with Amazon by using Amazon’s distinctive trademarks (the “Amazon Marks”) in their

 5   marketing and promotional materials. Defendants invite these individuals to view their free

 6   videos and listen to free podcasts. These videos and podcasts are the first step in a scheme that

 7   ends with consumers spending thousands or tens of thousands of dollars on various programs that

 8   purportedly teach them the “secrets” to selling on Amazon. The “secrets” imparted to students

 9   involve violating Amazon’s third-party seller agreements through the use of fake product reviews

10   and manipulation of search results to artificially drive traffic to their products. Defendants’ use of

11   the Amazon Marks and intentional interference with Amazon’s third-party seller agreements

12   seriously damage Amazon’s reputation and the goodwill and trustworthiness associated with

13   Amazon and the Amazon Marks.

14                                            I.   SUMMARY
15          1.       This case concerns various corporations and limited liability companies run by

16   Michael Gazzola and/or Matthew Behdjou. Gazzola and Behdjou formed Amazon Secrets in May

17   2016. Amazon Secrets has a number of business entities associated with it, but the primary

18   business entity behind Amazon Secrets appears to be Natural Health USA, LLC.

19          2.       Defendants have used multiple websites to market their services including, but not

20   limited to: amsecrets.com; amsecrets.net; amazonsecrets.net; amazonsecretsfunnels.com;

21   amazonsecretspodcast.com; amazonsellinghacks.com; amazontrainingapplication.com;

22   amzchinabootcamp.com; amztrackerbonus.com; onlinesecrets.com; onlinesecrets.net; and

23   amzteacher.com.

24          3.       In February 2018, Gazzola and Behdjou stopped working together on Amazon

25   Secrets and began offering coaching services through other avenues. Gazzola retained

26   amsecrets.com and Behdjou retained amsecrets.net. Gazzola has also rebranded his services as

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 1   “Online Secrets” (onlinesecrets.com and onlinesecrets.net) and “AMZ Teacher”

 2   (amzteacher.com). The business entity associated with Online Secrets is Online Secrets, Inc.

 3   Gazzola advertised his new services on a podcast called the “AMZ Show.” Gazzola and Behdjou

 4   have continued to collaborate since moving on from Amazon Secrets.

 5          4.       Defendants market their services primarily through podcasts and attempt to drive

 6   potential students to a website to obtain a free “how-to” video in exchange for their contact

 7   information. Having obtained the email address, Defendants then send direct emails and/or call

 8   potential students directly in order to encourage them to sign up. When Gazzola and Behdjou

 9   were operating Amazon Secrets, they charged students $3,999 for a three-month course. Online

10   Secrets currently charges students $4,997 for a three-month program (the “Amazon Inner Circle”

11   package), $6,997 for a six-month program (the “Amazon Inner Circle In It to Win It!”), or $9,997

12   for a one-year program (the “Amazon Inner Circle Ultra-Coaching Program”).

13          5.       Defendants tell students that earning between $10,000 to $15,000 per month is

14   “completely attainable” with their services.

15          6.       Defendants’ focus has been to teach students how to violate Amazon’s terms and

16   conditions for selling in the Amazon online stores on the Amazon.com website. Defendants

17   encourage students to buy each other’s products (usually heavily discounted or free) for the

18   express purpose of providing fabricated favorable reviews.

19          7.       Defendants improperly exploit Amazon’s name, intellectual property, and

20   reputation to sell their get-rich-quick scheme to unwitting entrepreneurs around the country.

21   These victims pay up to tens of thousands of dollars to Defendants based on Defendants’ false

22   portrayal of an affiliation with Amazon, relying on these misrepresentations to start a business

23   selling on Amazon. Because of Defendants’ improper guidance and other bad acts, these

24   entrepreneurs often fail in their efforts, enriching only Defendants.

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 1           8.      Defendants have engaged in a concerted, coordinated, and systematic effort to

 2   exploit Amazon’s name, brand, and intellectual property to convince people around the country to

 3   spend tens of thousands of dollars on worthless, and/or over-priced products and services.

 4           9.      Defendants’ misconduct has caused and is causing irreparable harm to Amazon’s

 5   reputation and the goodwill that it has developed both with its customers and its sellers.

 6           10.     Defendants’ misconduct causes entrepreneurs to spend thousands of dollars on

 7   Defendants’ products and services. Absent Defendants’ misconduct, these funds would otherwise

 8   be available to facilitate the development of legitimate and successful businesses selling on

 9   Amazon.

10   A.      Amazon and Its Third-Party Seller Program.
11           11.     Since opening its virtual doors on the World Wide Web in July 1995, Amazon has

12   become a premier shopping destination in the United States. Each day, millions of consumers use

13   Amazon’s stores to purchase a wide range of products across dozens of product categories from

14   Amazon and its authorized third-party sellers. The Amazon brand allows customers to shop with

15   confidence online regardless of whether the products are offered directly by Amazon or through its

16   third-party sellers.

17           12.     Amazon has been able to attract third-party sellers to its online stores largely as a

18   result of the brand recognition, reputation, and customer goodwill that it has worked diligently to

19   develop and enhance over the years. Amazon’s third-party seller program provides registered

20   sellers (“Amazon Sellers” or “Sellers”) access to Amazon’s customer-base and other significant

21   benefits. In turn, their participation in the Amazon stores and the wider array of products they

22   offer expands Amazon’s online catalog and drives down prices, ultimately increasing consumer

23   options and enhancing the customer experience.

24           13.     To ensure that customers receive competitive prices, quality products, and excellent

25   customer service, regardless of product source, Amazon has developed a uniform set of contract

26   terms, conditions, policies and guidelines that govern Seller activities. Seller compliance with

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 1   these terms is an important part of maintaining Amazon’s brand, customer goodwill, and a

 2   consistent consumer experience.

 3   B.         Defendants’ Scheme to Exploit Amazon and Deceive Aspiring Amazon Sellers.
 4              14.       Defendants Gazzola and Behdjou, individually and through their co-Defendant

 5   network of affiliated companies, improperly exploit Amazon’s name, intellectual property, and

 6   reputation to sell their get-rich-quick scheme to aspiring entrepreneurs around the country. These

 7   people often pay thousands of dollars to Defendants based on Defendants’ false portrayal of an

 8   affiliation with Amazon, relying on these misrepresentations to start selling products in the

 9   Amazon online stores. Because of Defendants’ improper guidance and other bad acts, these

10   entrepreneurs often fail in their efforts, enriching only the Defendants.

11              15.       Defendants’ scheme includes, but is not limited to, the following misconduct:

12                    •   Using the Amazon Marks without authorization;
13
                      •   Exploiting the Amazon brand to recruit “students” interested in becoming
14                        Amazon Sellers;

15                    •   Persuading their students to pay for expensive workshops and training
                          programs based on exaggerated promises of profits; and
16
                      •   Instructing their students to obtain fraudulent product reviews in violation
17                        of Amazon’s Seller policies.
18
                16.       Defendants’ misconduct also has caused and is causing irreparable harm to
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     Amazon’s reputation and the goodwill it has developed both with its customers and its
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     Sellers.
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                                                    II. PARTIES
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                17.       Plaintiff Amazon.com, Inc. is a Delaware corporation with its principal place of
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     business in Seattle, Washington. Plaintiff Amazon Technologies, Inc. is a Nevada corporation,
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     with its principal place of business in Seattle, Washington. Plaintiff Amazon Services, LLC is a
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     Nevada limited liability company with its principal place of business in Seattle, Washington. Both
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 1   Amazon Technologies, Inc. and Amazon Services, LLC are wholly-owned subsidiaries of

 2   Amazon.

 3          18.       Through its subsidiaries, Amazon owns and operates the stores available at

 4   Amazon.com and owns the Amazon Marks. Amazon has more than 250 million active customers.

 5   In addition to Amazon’s own retail sales, many third-party Sellers make their own products

 6   available via the Amazon stores.

 7          19.       Defendant Online Secrets, Inc. is a for-profit corporation organized under the laws

 8   of the State of California. According to the records available on the website for the California

 9   Secretary of State, Online Secrets, Inc. was registered on February 27, 2018. Its address is listed

10   as 530 New Los Angeles Ave., Moorpark, CA 93021. Its registered agent is Melissa Gazzola.

11          20.       Defendant Natural Health USA, LLC is a limited liability company organized

12   under the laws of the State of California. According to the records available on the website for the

13   California Secretary of State, Natural Health USA, LLC was organized on October 9, 2015. Its

14   address is listed as 21200 Kittridge Street, APT 3212, Woodland Hills, CA 91303. Matthew

15   Behdjou is listed as its managing member.

16          21.       Defendant Heritage Funding Corp. is a for-profit corporation organized under the

17   laws of the State of Arizona. According to the records available on the website for the Arizona

18   Corporation Commission, Heritage Funding Corp. was incorporated on June 27, 2011. Its agent is

19   listed as National Registered Agents Inc. Its agent’s address is listed as 2390 E. Camelback Rd.,

20   Phoenix, AZ 85016. Michael Gazzola is its principal director.

21          22.       Defendant Michael J. Gazzola is an individual who is believed to reside in the State

22   of California.

23          23.       Defendant Matthew S. Behdjou is an individual who is believed to reside in the

24   State of California.

25          24.       Defendant DOE Companies 1 – 20 are believed to be owned and operated by, or

26   otherwise closely-related to, the named Defendants. On information and belief, Doe Defendants

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 1   are entities working in active concert with the other Defendants to knowingly and willfully run the

 2   scheme alleged in this Complaint, including by using the Amazon Marks and brand to deceive

 3   victims. This Complaint will be amended to name each such entity once identified through

 4   discovery.

 5                                     III. JURISDICTION/VENUE
 6           25.     This action arises under the Lanham Trademark Act 15 U.S.C. §§ 1051 et seq. (the

 7   “Lanham Act”). Accordingly, this Court has federal question jurisdiction over the subject matter

 8   of this action pursuant to 15 U.S.C. § 1121 and 28 U.S.C. §§ 1331 and 1338(a), (b). This Court

 9   also has diversity jurisdiction pursuant to 28 U.S.C. § 1332. This Court has supplemental

10   jurisdiction over the state law claims pursuant to 28 U.S.C. § 1367.

11           26.     Venue in this district is proper under 28 U.S.C. § 1391(b)(2) in that a substantial

12   part of the events giving rise to the claims occurred in this district.

13           27.     This Court has personal jurisdiction over Defendants, all of whom have conducted

14   business activities in and directed to Washington and are primary participants in tortious acts in

15   and directed to Washington.

16                                               IV. FACTS
17   A.      The Amazon Marks.
18           28.     Amazon annually spends significant time, money, and effort advertising and

19   promoting the products and services in connection with which its trademarks are used. Through

20   these and other investments in its customers’ trust, Amazon has developed a reputation for quality

21   products and services.

22           29.     For hundreds of millions of customers, the names “Amazon” and “Amazon.com”

23   have come to represent wide selection, fast delivery, everyday low pricing, outstanding customer

24   service, and unsurpassed trust for Internet commerce. There is a close association among

25   consumers between Amazon, its trademarks, and the products and services it offers.

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 1          30.        Amazon publishes an easily accessible non-exhaustive list of its trademarks on its

 2   website (see https://www.amazon.com/gp/help/customer/display.html/?nodeId=200738910).

 3   Included among that list are references to the following representative marks at issue in this

 4   lawsuit (the “Amazon Marks”):

 5
                  a.                  (Reg. Nos. 4171965, 5038752, 5775740);
 6

 7                b. AMAZON (word mark) (Reg. Nos. 2078496, 2657226, 2738837, 2738838,

 8                     2832943, 2857590, 3868195, 4171964, 4533716, 4656529, 4907371, 5102687,

 9                     5281455);
10

11                c.        (Reg. No. 3904646); and

12                d.            (Reg. Nos. 2951941, 5775763, 4841614).

13
            31.        Through its subsidiaries, Amazon is the owner of all rights in the Amazon Marks.
14
            32.        Amazon has continuously used the Amazon Marks to distinguish its products and
15
     services. As a result of Amazon’s long-standing use of the Amazon Marks, statutory and common
16
     law trademark rights have amassed in the Amazon Marks. Amazon has also built substantial
17
     goodwill in and to the Amazon Marks.
18
            33.        Through Amazon’s advertisement and promotion and the high level of recognition
19
     by the general consuming public of the United States, the Amazon Marks are famous and became
20
     famous prior to Defendants’ illegal acts—indeed, the Amazon Marks were famous before any of
21
     the corporate Defendants were incorporated. The Amazon Marks are famous by virtue of their
22
     inherent distinctiveness and secondary meaning as a designation of the source of the trust that
23
     consumers can place in purchasing from the Amazon stores and by their continuous long-term use
24
     by Amazon.
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 1            34.       Moreover, due to Amazon’s advertisement and promotion of the Amazon Marks,

 2   consumers have come to recognize the Amazon Marks as symbols of the trustworthiness of the

 3   products and services bearing the Amazon Marks.

 4            35.       The Amazon Marks are valuable assets of Amazon. To protect that value and

 5   maintain the positive association between the Amazon Marks and Amazon’s products and

 6   services, Amazon only permits others to use Amazon’s distinctive trademarks in limited

 7   circumstances and subject to guidelines designed to avoid consumer confusion.

 8            36.       For example, Sellers may use Amazon’s “Available at Amazon” badge (the

 9   “Badge”), provided that they adhere to strict guidelines that Amazon publishes on its website.

10   Amazon’s Trademark Usage Guidelines 1 include the following terms:

11                  •   “You may use the Badge solely for the purpose expressly authorized by
12                      Amazon in these Guidelines, and your use must: (i) comply with the most up-
                        to-date version of these Guidelines; and (ii) comply with any other terms,
13                      conditions, or policies that Amazon may issue from time to time that apply to
                        the use of the Badge.”
14                  •   “You may not alter the Badge in any manner, including but not limited to,
                        changing the proportion, color, or font of the Badge, or adding or removing
15
                        any element(s) to or from the Badge.”
16                  •   “You may not use the Badge in any manner that implies sponsorship or
                        endorsement by Amazon, other than by using the Badge as specifically
17                      authorized in these Guidelines by Amazon.” (Emphasis added.)
18            37.       Amazon does not permit Sellers to use the Amazon Marks without the “available

19   at” language under any circumstances.

20            38.       Defendants have made use of the Amazon Marks without Amazon’s authorization

21   in order to misleadingly promote their own products and services as Amazon products and

22   services, or as products and services that are affiliated with or endorsed by Amazon.

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26        Available at https://www.amazon.com/gp/help/customer/display.html?ie=UTF8&nodeId=201713630.

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 1              39.     Defendants’ use of the Amazon Marks is intended and highly likely to confuse and

 2   mislead prospective Amazon Sellers into believing that Defendants’ products and services are

 3   affiliated with, endorsed by, or sponsored by Amazon.

 4   B.         Selling on Amazon and the Amazon Services Business Solutions Agreement.
 5              40.     Anyone interested in selling products in the Amazon stores must first create a

 6   Selling on Amazon account using Amazon’s Seller Central, the Web interface where Sellers open

 7   and manage their selling account. Sellers also must agree to the Amazon Services Business

 8   Solutions Agreement (“BSA”), which governs Seller access to and use of Amazon’s services and

 9   sets forth Amazon’s rules and restrictions for selling through the website.

10              41.     A copy of the BSA is attached hereto as Exhibit 1. 2 The BSA identifies plaintiff

11   Amazon Services LLC, a wholly-owned subsidiary of Amazon.com, Inc., as the “Amazon

12   Contracting Party” for the services at issue here. By agreeing to the BSA, Sellers also agree to be

13   bound by all applicable “Program Policies”, defined as “all policies and program terms provided

14   on the Program Policies page.” 3

15              42.     Once a Seller is registered, Selling on Amazon is a simple process involving three

16   main components: listing, selling, and shipping.

17              43.     In order to sell a product in the Amazon stores, the Seller must first create a listing

18   accurately identifying the product for sale. Each product sold on Amazon.com is assigned and

19   identified by a unique Amazon Standard Identification Number, or ASIN.

20              44.     It is critical for product listings to be accurate; Amazon.com customers expect that

21   they will get what they ordered. The requirement for “accurate and complete” product listings is

22   incorporated into the “Selling on Amazon Service Terms” section of the BSA.

23

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       2
           Also available at https://sellercentral.amazon.com/gp/help/external/help.html?itemID=1791.
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       3
         The referenced “Program Policies” page is available at
26   https://sellercentral.amazon.com/gp/help/external/G521?language=en_US&ref=efph_G521_cont_1791.

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 1             45.      Once listed, a Seller’s products become visible to customers on Amazon.com and

 2   can be bought through Amazon’s standard process, which includes features like 1-Click buying

 3   and Amazon’s A-to-Z Guarantee. Amazon has invested significant time, effort, and resources to

 4   develop a brand that millions of people trust, and customers have come to expect that they can

 5   make quick, easy, and worry-free purchases on Amazon.com, regardless of the source of the

 6   product being sold.

 7             46.      To help shoppers make informed purchasing decisions, Amazon encourages its

 8   customers to review the products they purchase and publishes these customer reviews on the

 9   product detail pages. In order to review a product, an individual must be an Amazon customer and

10   must have an Amazon account. Amazon expressly prohibits paid reviews, as stated in its Seller

11   Policies and Seller Code of Conduct 4 and as stated in its policy on Reviews, Comments,

12   Communications, and Other Content, incorporated into its Conditions of Use. 5

13             47.      Consumers rely on this customer feedback and trust that these reviews will be

14   honest, helpful, and authentic.

15             48.      Amazon takes the integrity of its customer reviews very seriously. Amazon has

16   developed sophisticated technologies and protocols to detect and remove false, misleading, and

17   inauthentic reviews from its website and suspends Sellers that post or purchase fake reviews.

18   Amazon also has taken legal action against those who offer to supply paid reviews.

19   C.        Defendants’ Infringement of the Amazon Marks
20             49.      Defendants market and sell a number of products and services that depend on

21   Amazon for their existence and appeal – without Amazon and the on-line stores through which

22   Amazon Sellers are able to offer their products for sale, there would be no market for Defendants’

23   products and services.

24
       4
       Available at https://sellercentral.amazon.com/gp/help/external/G1801?language=en-
25   US&ref=efph_G1801_cont_200386250.
       5
26         Available at https://www.amazon.com/gp/help/customer/display.html?nodeId=508088.

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 1          50.     Defendants prominently display the Amazon Marks in marketing materials on the

 2   onlinesecrets.com website, in direct mass marketing emails to potential, current, and former

 3   students, and on their secret Facebook group as reflected in the examples below:

 4   Onlinesecrets.com Website:

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     COMPLAINT - 12
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 1   Marketing Email:

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     Amazon Secrets Mastermind Facebook Page:
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     COMPLAINT - 13
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 1   Online Secrets Facebook Ad:

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17   D.     Defendants Induce Students to Violate Amazon’s Seller Contract.
18          51.     Once students have signed up for Defendants’ services, Defendants place those

19   students in a “review club” in which students are instructed to exchange reviews in an effort to

20   increase the prominence of their product listing on Amazon’s stores. Students seek to help each

21   other obtain an unfair advantage by manipulating reviews in three ways: (1) verified reviews with

22   a 100% buy-back; (2) reviews on purchases with major discount codes (as high as 99%); and (3)

23   marking bad reviews as “unhelpful” and good reviews as “helpful.”

24          52.     The exchange of verified five-star reviews is a complete buy-back system in which

25   a student asks other students in Defendants’ secret Facebook group to purchase the product and

26   write a five-star review. In exchange, the student Seller then immediately reimburses the buyer

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 1   via an outside source such as PayPal, CashApp, or Venmo. Later, the student seller will return the

 2   favor, thus creating a perpetual cycle of rigged reviews. Where no discount code has been used,

 3   Amazon perceives such rigged reviews as verified reviews which improve the rank of the item and

 4   increase its prominence on Amazon.com, tending to increase future sales and draw sales away

 5   from other legitimate Sellers.

 6             53.   Defendants’ inducement and facilitation of fraudulent reviews violates Amazon’s

 7   policy on Misuse of Rating, Feedback, or Reviews, which is incorporated as part of every Seller

 8   agreement (the BSA). Upon information and belief, Defendants know that the techniques they are

 9   teaching provide an advantage over other Sellers who are in compliance with the BSA precisely

10   because those techniques violate Amazon’s policies.

11                                       V.   CAUSES OF ACTION
12                                     Count I: Trademark Infringement
                                      (Lanham Act § 32; 15 U.S.C. § 1114)
13
               54.   Amazon incorporates by reference the allegations of each and every one of the
14
     preceding paragraphs as though fully set forth herein.
15
               55.   The Amazon Marks are valid, distinctive, protectable marks that have been
16
     registered as trademarks on the principal register in the United States Patent and Trademark
17
     Office.
18
               56.   Amazon, through its wholly owned subsidiaries, is the owner and registrant of the
19
     Amazon Marks.
20
               57.   Defendants have used the Amazon Marks without authorization in commerce in
21
     connection with the sale and advertising of goods and services in a manner that is likely to cause
22
     confusion, mistake, or to deceive consumers as to the origin, source, sponsorship or affiliation of
23
     Defendants’ goods and services, and is designed, intended, and likely to cause consumers to
24
     believe, contrary to fact, that Defendants’ goods or services are sold, authorized, endorsed, or
25

26

     COMPLAINT - 15
     CASE NO.
                                                                          SUMMIT LAW GROUP, PLLC
                                                                            315 FIFTH AVENUE SOUTH, SUITE 1000
                                                                             SEATTLE, WASHINGTON 98104-2682
                                                                                  Telephone: (206) 676-7000
                                                                                     Fax: (206) 676-7001
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 1   sponsored by Amazon, or that Defendants are in some way affiliated with or sponsored by

 2   Amazon.

 3          58.     Defendants’ conduct constitutes trademark and service mark infringement in

 4   violation of Section 32 of the Lanham Act, 15 U.S.C. § 1114.

 5          59.     Upon information and belief, Defendants have committed the foregoing acts of

 6   infringement with full knowledge of Amazon’s rights in the Amazon Marks and with the willful

 7   and deliberate intent to cause confusion and trade on Amazon’s goodwill.

 8          60.     Defendants’ unauthorized and unlawful conduct is causing immediate and

 9   irreparable harm to Amazon and its goodwill and reputation and will continue to both damage

10   Amazon and confuse the public unless enjoined by this Court, including an order of destruction of

11   all Defendants’ infringing materials. Amazon has no adequate remedy at law. Amazon is entitled

12   to, among other relief, injunctive relief and an award of actual damages, Defendants’ profits,

13   enhanced damages and profits, reasonable attorneys’ fees, and costs of the action under Sections

14   34 and 35 of the Lanham Act, 15 U.S.C. §§ 1116, 1117, together with pre-judgment and post-

15   judgment interest.

16                        Count II: False Association/Federal Unfair Competition
                                (Lanham Act, § 43(a); 15 U.S.C. § 1125(a))
17
            61.     Amazon incorporates by reference the allegations of each and every one of the
18
     preceding paragraphs as though fully set forth herein.
19
            62.     Defendants’ unauthorized use in commerce of the Amazon Marks as alleged herein
20
     is designed, intended, and likely to deceive consumers as to the origin, source, sponsorship, or
21
     affiliation of Defendants’ goods and services, and is designed, intended, and likely to cause
22
     consumers to believe, contrary to fact, that Defendants’ goods and services are sold, authorized,
23
     endorsed, or sponsored by Amazon, or that Defendants are affiliated with or sponsored by
24
     Amazon.
25

26

     COMPLAINT - 16
     CASE NO.
                                                                         SUMMIT LAW GROUP, PLLC
                                                                            315 FIFTH AVENUE SOUTH, SUITE 1000
                                                                             SEATTLE, WASHINGTON 98104-2682
                                                                                  Telephone: (206) 676-7000
                                                                                     Fax: (206) 676-7001
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 1          63.     Defendants’ conduct as alleged herein constitutes unfair competition in violation of

 2   Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a)(1)(A).

 3          64.     Upon information and belief, Defendants’ conduct as alleged herein is willful and

 4   is intended to and is likely to cause confusion, mistake, or deception as to the affiliation,

 5   connection, or association of Defendant with Amazon.

 6          65.     Defendants’ conduct as alleged herein is causing immediate and irreparable harm

 7   and injury to Amazon and to its good will and reputation and will continue to both damage

 8   Amazon and confuse the public unless enjoined by this Court. Amazon has no adequate remedy at

 9   law.

10          66.     Amazon is entitled to, among other relief, injunctive relief and an award of actual

11   damages, Defendants’ profits, enhanced damages and profits, reasonable attorneys’ fees, and costs

12   of the action under Section 34 and 35 of the Lanham Act, 15 U.S.C. §§ 1116, 1117, together with

13   pre-judgment and post-judgment interest.

14                       Count III: Dilution and Tarnishment of a Famous Mark
                               (Lanham Act § 43(c); 15 U.S.C. § 1125(c))
15
            67.     Amazon incorporates by reference the allegations of each and every one of the
16
     preceding paragraphs as though fully set forth herein.
17
            68.     Without Amazon’s authorization, Defendants have used and are using the Amazon
18
     Marks to sell their products and services to Amazon Sellers and those desiring to become Sellers
19
     in Amazon’s stores. Defendants have used the Amazon Marks in interstate commerce, wrongfully
20
     capitalizing on Amazon’s reputation and goodwill to induce Amazon Sellers or potential Sellers to
21
     buy their products and services.
22
            69.     The Amazon Marks are distinctive and familiar to millions of Amazon’s customers
23
     and identified with Amazon’s goods and services. It is a famous trademark within the meaning of
24
     15 U.S.C. § 1125(c).
25

26

     COMPLAINT - 17
     CASE NO.
                                                                            SUMMIT LAW GROUP, PLLC
                                                                              315 FIFTH AVENUE SOUTH, SUITE 1000
                                                                               SEATTLE, WASHINGTON 98104-2682
                                                                                    Telephone: (206) 676-7000
                                                                                       Fax: (206) 676-7001
              Case 2:19-cv-01688-JLR Document 1 Filed 10/18/19 Page 18 of 52




 1           70.     Defendants’ acts as alleged herein have diluted and will, unless enjoined, continue

 2   to dilute and are likely to dilute the distinctive quality of Amazon’s famous Amazon Marks.

 3           71.     Defendants’ acts as alleged herein have tarnished and will, unless enjoined,

 4   continue to tarnish, and are likely to tarnish the Amazon Marks by undermining and damaging the

 5   valuable goodwill associated with the Amazon Marks.

 6           72.     Upon information and belief, Defendants’ acts as alleged herein are intentional and

 7   willful in violation of Section 43(c)(1) of the Lanham Act, 15 U.S.C. § 1125(c)(1), and have

 8   already caused Amazon irreparable damage, and will, unless enjoined, continue to so damage

 9   Amazon, which has no adequate remedy at law.

10           73.     Amazon is entitled to, among other relief, injunctive relief and an award of actual

11   damages, Defendants’ profits, enhanced damages and profits, reasonable attorneys’ fees and costs

12   of the action under Sections 34 and 35 of the Lanham Act, 15 U.S.C. §§ 1116, 1117, together with

13   pre-judgment and post-judgment interest.

14                                     Count IV: Tortious Interference
15           74.     Amazon incorporates by reference the allegations of each and every one of the

16   preceding paragraphs as though fully set forth herein.

17           75.     Amazon has a contractual relationship with each of its Sellers, who are required to

18   agree to Amazon’s terms and conditions.

19           76.     Defendants know that each Seller must agree to the BSA as a condition of selling

20   on Amazon.

21           77.     Defendants know that Amazon Sellers are contractually prohibited by the BSA

22   from manipulating reviews of their products and from artificially simulating customer traffic for

23   their products. Despite this knowledge, Defendants induce student Sellers to obtain fraudulent

24   product reviews from friends, family, other students, or from companies in the business of selling

25   fake reviews. Defendants also instruct their student Sellers to manipulate product listings by

26   hiring outside companies to artificially drive traffic to their product listings.

     COMPLAINT - 18
     CASE NO.
                                                                             SUMMIT LAW GROUP, PLLC
                                                                               315 FIFTH AVENUE SOUTH, SUITE 1000
                                                                                SEATTLE, WASHINGTON 98104-2682
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                                                                                        Fax: (206) 676-7001
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 1          78.     Defendants knew that the individuals who signed up for their seminars and

 2   coaching programs had an interest in and intended to become Amazon Sellers or had an interest in

 3   and intended to grow their existing businesses as Amazon Sellers.

 4          79.     Through their conduct, Defendants intended to disrupt and, with malice and

 5   through unfair means, did interfere with the performance of Amazon Services LLC’s contracts

 6   with the student Sellers. Defendants induced some student Sellers to engage in behavior that

 7   Defendants knew violated the terms of the BSA and incorporated policies.

 8          80.     Defendants Michael Gazzola and Matthew Behdjou each have authorized, directed,

 9   and/or personally participated in these acts, as outlined above.

10          81.     Defendants’ acts have damaged Plaintiffs, including Amazon’s reputation and

11   goodwill. Defendants’ acts also have caused Plaintiffs to incur internal expenses associated with

12   increased customer service complaints and seller account representative involvement.

13          82.     Defendants’ acts have caused irreparable injury to Plaintiffs and will continue to

14   cause irreparable injury absent an injunction. The injury to Plaintiffs is and continues to be

15   ongoing and irreparable. An award of monetary damages cannot fully compensate Plaintiffs for

16   their injuries, and Plaintiffs lack an adequate remedy at law.

17          83.     Plaintiffs are entitled to injunctive relief enjoining Defendants’ wrongful

18   interference, as well as all other remedies including, but not limited to, compensatory damages,

19   and an award of pre-judgment and post-judgment interest.

20                                     VI. RELIEF REQUESTED
21          WHEREFORE, Amazon respectfully prays for the following relief:

22          A.      That the Court enter judgment in Amazon’s favor on all claims brought by

23   Amazon;

24          B.      That the Court issue an order permanently enjoining Defendants, their officers,

25   agents, representatives, servants, employees, successors and assigns, and all others in active

26   concert or participation with them, from:

     COMPLAINT - 19
     CASE NO.
                                                                          SUMMIT LAW GROUP, PLLC
                                                                            315 FIFTH AVENUE SOUTH, SUITE 1000
                                                                             SEATTLE, WASHINGTON 98104-2682
                                                                                  Telephone: (206) 676-7000
                                                                                     Fax: (206) 676-7001
                 Case 2:19-cv-01688-JLR Document 1 Filed 10/18/19 Page 20 of 52




 1                   i.       using the Amazon Marks or marks confusingly similar to the Amazon

 2                            Marks;

 3                 ii.        holding themselves out to be affiliated with or sponsored or endorsed by

 4                            Amazon;

 5                 iii.       posting or causing anyone to post fraudulent product reviews in Amazon’s

 6                            stores or from otherwise manipulating or causing others to manipulate

 7                            product reviews;

 8                 iv.        interfering directly or indirectly in Amazon’s contractual relationships with

 9                            its Sellers; and

10                  v.        assisting, instructing, aiding or abetting any other person or business entity

11                            in engaging or performing any of the activities referred to in subparagraphs

12                            (i) – (iv) above;

13           C.        That the Court enter an order requiring forfeiture and/or destruction of all materials

14   used by Defendants to display the Amazon Marks without authorization;

15           D.        That the Court enter an order requiring disgorgement of Defendants’ profits and

16   awarding Amazon compensatory and treble damages, including pre-judgment and post-judgment

17   interest;

18           E.        That the Court enter an order requiring Defendants to pay to Amazon both the costs

19   of this action and the reasonable attorneys’ fees incurred by Amazon in prosecuting this action;

20   and

21           F.        That the Court grant Amazon such other, further, and additional relief as the Court

22   deems just and equitable.

23

24

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     COMPLAINT - 20
     CASE NO.
                                                                             SUMMIT LAW GROUP, PLLC
                                                                               315 FIFTH AVENUE SOUTH, SUITE 1000
                                                                                SEATTLE, WASHINGTON 98104-2682
                                                                                     Telephone: (206) 676-7000
                                                                                        Fax: (206) 676-7001
             Case 2:19-cv-01688-JLR Document 1 Filed 10/18/19 Page 21 of 52




 1         DATED this 18th day of October, 2019.

 2                                                 SUMMIT LAW GROUP, PLLC
                                                   Attorneys for Plaintiffs Amazon.com, Inc.,
 3                                                 Amazon Technologies, Inc. and Amazon
 4                                                 Services, LLC

 5                                                 By s/ Philip S. McCune
                                                   By s/ Christopher T. Wion
 6                                                 By s/ Jesse L. Taylor
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 7                                                    Christopher T. Wion, WSBA #33207
                                                      Jesse L. Taylor, WSBA #51603
 8                                                    philm@summitlaw.com
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 9                                                    jesset@summitlaw.com
10                                                    315 Fifth Avenue S., Suite 1000
                                                      Seattle, WA 98104-2682
11                                                    (206) 676-7000
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     COMPLAINT - 21
     CASE NO.
                                                                     SUMMIT LAW GROUP, PLLC
                                                                       315 FIFTH AVENUE SOUTH, SUITE 1000
                                                                        SEATTLE, WASHINGTON 98104-2682
                                                                             Telephone: (206) 676-7000
                                                                                Fax: (206) 676-7001
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             EXHIBIT 1
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                              Amazon Services Business Solutions Agreement


General Terms

Welcome to Amazon Services Business Solutions, a suite of optional services for sellers including: Selling on
Amazon, Fulfillment by Amazon, Amazon Clicks, Transaction Processing Services, and the Selling Partner API.

THIS AMAZON SERVICES BUSINESS SOLUTIONS AGREEMENT (THE "AGREEMENT") CONTAINS THE TERMS AND
CONDITIONS THAT GOVERN YOUR ACCESS TO AND USE OF THE SERVICES AND IS AN AGREEMENT BETWEEN YOU
OR THE BUSINESS YOU REPRESENT AND AMAZON. BY REGISTERING FOR OR USING THE SERVICES, YOU (ON
BEHALF OF YOURSELF OR THE BUSINESS YOU REPRESENT) AGREE TO BE BOUND BY THE TERMS OF THIS
AGREEMENT, INCLUDING THE SERVICE TERMS AND PROGRAM POLICIES THAT APPLY FOR EACH COUNTRY FOR
WHICH YOU REGISTER OR ELECT TO USE A SERVICE (IN EACH CASE, THE "ELECTED COUNTRY").

As used in this Agreement, "we," "us," and "Amazon" means the applicable Amazon Contracting Party and any of
its applicable Affiliates, and "you" means the applicant (if registering for or using a Service as an individual), or the
business employing the applicant (if registering for or using a Service as a business) and any of its Affiliates.
Capitalized terms have the meanings given to them in this Agreement. If there is any conflict between these
General Terms and the applicable Service Terms and Program Policies, the General Terms will govern and the
applicable Service Terms will prevail over the Program Policies.

1. Enrollment.

To begin the enrollment process, you must complete the registration process for one or more of the Services. Use
of the Services is limited to parties that can lawfully enter into and form contracts under applicable Law (for
example, the Elected Country may not allow minors to use the Services). As part of the application, you must
provide us with your (or your business') legal name, address, phone number and e-mail address, as well as any
other information we may request. Any personal data you provide to us will be handled in accordance with
Amazon’s Privacy Notice.

2. Service Fee Payments; Receipt of Sales Proceeds.

Fee details are described in the applicable Service Terms and Program Policies. You are responsible for all of your
expenses in connection with this Agreement. To use a Service, you must provide us with valid credit card
information from a credit card or credit cards acceptable by Amazon ("Your Credit Card") as well as valid bank
account information for a bank account or bank accounts acceptable by Amazon (conditions for acceptance may
be modified or discontinued by us at any time without notice) ("Your Bank Account"). You will use only a name
you are authorized to use in connection with a Service and will update all of the information you provide to us in
connection with the Services as necessary to ensure that it at all times remains accurate, complete, and valid. You
authorize us (and will provide us documentation evidencing your authorization upon our request) to verify your
information (including any updated information), to obtain credit reports about you from time to time, to obtain
credit authorizations from the issuer of Your Credit Card, and to charge Your Credit Card or debit Your Bank
Account for any sums payable by you to us (in reimbursement or otherwise). All payments to you will be remitted
to Your Bank Account through a banking network or by other means specified by us.

If we determine that your actions or performance may result in returns, chargebacks, claims, disputes, violations
of our terms or policies, or other risks to Amazon or third parties, then we may in our sole discretion withhold
any payments to you for as long as we determine any related risks to Amazon or third parties persist. For any
amounts that we determine you owe us, we may (a) charge Your Credit Card or any other payment instrument
you provide to us; (b) offset any amounts that are payable by you to us (in reimbursement or otherwise) against
any payments we may make to you or amounts we may owe you; (c) invoice you for amounts due to us, in
which case you will pay the invoiced amounts upon receipt; (d) reverse any credits to Your Bank Account; or (e)
collect payment or reimbursement from you by any other lawful means. If we determine that your account has


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                              Amazon Services Business Solutions Agreement

been used to engage in deceptive, fraudulent, or illegal activity, or to repeatedly violate our Program Policies,
then we may in our sole discretion permanently withhold any payments to you. Except as provided otherwise, all
amounts contemplated in this Agreement will be expressed and displayed in the Local Currency, and all payments
contemplated by this Agreement will be made in the Local Currency.

In addition, we may require that you pay other amounts to secure the performance of your obligations under this
Agreement or to mitigate the risk of returns, chargebacks, claims, disputes, violations of our terms or policies, or
other risks to Amazon or third parties. These amounts may be refundable or nonrefundable in the manner we
determine, and failure to comply with terms of this Agreement, including any applicable Program Policies, may
result in their forfeiture.

As a security measure, we may, but are not required to, impose transaction limits on some or all customers and
sellers relating to the value of any transaction or disbursement, the cumulative value of all transactions or
disbursements during a period of time, or the number of transactions per day or other period of time. We will not
be liable to you: (i) if we do not proceed with a transaction or disbursement that would exceed any limit
established by us for a security reason, or (ii) if we permit a customer to withdraw from a transaction because an
Amazon Site or Service is unavailable following the commencement of a transaction.

3. Term and Termination.

The term of this Agreement will start on the date of your completed registration for use of a Service and continue
until terminated by us or you as provided below. You may at any time terminate your use of any Service
immediately on notice to us via Seller Central, email, the Contact Us form, or similar means. We may terminate
your use of any Services or terminate this Agreement for convenience with 30 days’ advance notice. We may
suspend or terminate your use of any Services immediately if we determine that (a) you have materially breached
the Agreement and failed to cure within 7 days of a cure notice unless your breach exposes us to liability toward a
third party, in which case we are entitled to reduce, or waive, the aforementioned cure period at our reasonable
discretion; (b) your account has been, or our controls identify that it may be used for deceptive or fraudulent, or
illegal activity; or (c) your use of the Services has harmed, or our controls identify that it might harm, other sellers,
customers, or Amazon’s legitimate interests. We will promptly notify you of any such termination or suspension via
email or similar means including Seller Central, indicating the reason and any options to appeal, except where we
have reason to believe that providing this information will hinder the investigation or prevention of deceptive,
fraudulent, or illegal activity, or will enable you to circumvent our safeguards. On termination of this Agreement,
all related rights and obligations under this Agreement immediately terminate, except that (d) you will remain
responsible for performing all of your obligations in connection with transactions entered into before termination
and for any liabilities that accrued before or as a result of termination, and (e) Sections 2, 3, 4, 5, 6, 7, 8, 9, 11, 14,
15, and 18 of these General Terms survive.

4. License.

You grant us a royalty-free, non-exclusive, worldwide right and license for the duration of your original and
derivative intellectual property rights to use any and all of Your Materials for the Services or other Amazon product
or service, and to sublicense the foregoing rights to our Affiliates and operators of Amazon Associated Properties;
provided, however, that we will not alter any of Your Trademarks from the form provided by you (except to re-size
trademarks to the extent necessary for presentation, so long as the relative proportions of such trademarks remain
the same) and will comply with your removal requests as to specific uses of Your Materials (provided you are
unable to do so using standard functionality made available to you via the applicable Amazon Site or Service);
provided further, however, that nothing in this Agreement will prevent or impair our right to use Your Materials
without your consent to the extent that such use is allowable without a license from you or your Affiliates under
applicable Law (e.g., fair use under United States copyright law, referential use under trademark law, or valid
license from a third party).


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                             Amazon Services Business Solutions Agreement

5. Representations.

Each party represents and warrants that: (a) if it is a business, it is duly organized, validly existing and in good
standing under the Laws of the country in which the business is registered and that you are registering for the
Service(s) within such country; (b) it has all requisite right, power, and authority to enter into this Agreement,
perform its obligations, and grant the rights, licenses, and authorizations in this Agreement; (c) any information
provided or made available by one party to the other party or its Affiliates is at all times accurate and complete; (d)
it is not subject to sanctions or otherwise designated on any list of prohibited or restricted parties or owned or
controlled by such a party, including but not limited to the lists maintained by the United Nations Security Council,
the US Government (e.g., the US Department of Treasury’s Specially Designated Nationals list and Foreign
Sanctions Evaders list and the US Department of Commerce’s Entity List), the European Union or its member
states, or other applicable government authority; and (e) it will comply with all applicable Laws in performance of
its obligations and exercise of its rights under this Agreement.

6. Indemnification.

6.1 Your indemnification obligations. You will defend, indemnify, and hold harmless Amazon, and our officers,
directors, employees, and agents, against any third-party claim, loss, damage, settlement, cost, expense, or other
liability (including, without limitation, attorneys’ fees) (each, a “Claim”) arising from or related to (a) your non-
compliance with applicable Laws; (b) Your Products, including the offer, sale, fulfillment (except to the extent
attributable to the FBA service), refund, cancellation, return, or adjustments thereof, Your Materials, any actual or
alleged infringement of any Intellectual Property Rights by any of the foregoing, and any personal injury, death (to
the extent the injury or death is not caused by Amazon), or property damage related thereto; (c) Your Taxes and
duties or the collection, payment, or failure to collect or pay Your Taxes or duties, or the failure to meet tax
registration obligations or duties; or (d) actual or alleged breach of any representations you have made.

6.2 Amazon’s indemnification obligations. Amazon will defend, indemnify, and hold harmless you and your
officers, directors, employees, and agents against any third-party Claim arising from or related to: (a) Amazon’s
non-compliance with applicable Laws; or (b) allegations that the operation of an Amazon store infringes or
misappropriates that third party’s intellectual property rights.

6.3 Process. If any indemnified Claim might adversely affect us, we may, to the extent permitted by applicable Law,
voluntarily intervene in the proceedings at our expense. No party may consent to the entry of any judgment or
enter into any settlement of an indemnified Claim without the prior written consent of the other party, which may
not be unreasonably withheld; except that a party may settle any claim that is exclusively directed at and
exclusively affects that party.

7. Disclaimer & General Release.

a. THE AMAZON SITES AND THE SERVICES, INCLUDING ALL CONTENT, SOFTWARE, FUNCTIONS, MATERIALS, AND
INFORMATION MADE AVAILABLE ON OR PROVIDED IN CONNECTION WITH THE SERVICES, ARE PROVIDED "AS-IS."
AS A USER OF THE SERVICES, YOU USE THE AMAZON SITES, THE SERVICES, AND SELLER CENTRAL AT YOUR OWN
RISK. TO THE FULLEST EXTENT PERMISSIBLE BY LAW, WE AND OUR AFFILIATES DISCLAIM: (i) ANY
REPRESENTATIONS OR WARRANTIES REGARDING THIS AGREEMENT, THE SERVICES OR THE TRANSACTIONS
CONTEMPLATED BY THIS AGREEMENT, INCLUDING ANY IMPLIED WARRANTIES OF MERCHANTABILITY, FITNESS
FOR A PARTICULAR PURPOSE, OR NON-INFRINGEMENT; (ii) IMPLIED WARRANTIES ARISING OUT OF COURSE OF
DEALING, COURSE OF PERFORMANCE, OR USAGE OF TRADE; AND (iii) ANY OBLIGATION, LIABILITY, RIGHT, CLAIM,
OR REMEDY IN TORT, WHETHER OR NOT ARISING FROM OUR NEGLIGENCE. WE DO NOT WARRANT THAT THE
FUNCTIONS CONTAINED IN THE AMAZON SITES AND THE SERVICES WILL MEET YOUR REQUIREMENTS OR BE
AVAILABLE, TIMELY, SECURE, UNINTERRUPTED, OR ERROR FREE, AND WE WILL NOT BE LIABLE FOR ANY SERVICE
INTERRUPTIONS, INCLUDING BUT NOT LIMITED TO SYSTEM FAILURES OR OTHER INTERRUPTIONS THAT MAY
AFFECT THE RECEIPT, PROCESSING, ACCEPTANCE, COMPLETION, OR SETTLEMENT OF ANY TRANSACTIONS.

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                              Amazon Services Business Solutions Agreement

b. BECAUSE AMAZON IS NOT INVOLVED IN TRANSACTIONS BETWEEN CUSTOMERS AND SELLERS OR OTHER
PARTICIPANT DEALINGS, IF A DISPUTE ARISES BETWEEN ONE OR MORE PARTICIPANTS, EACH PARTICIPANT
RELEASES AMAZON (AND ITS AGENTS AND EMPLOYEES) FROM CLAIMS, DEMANDS, AND DAMAGES (ACTUAL AND
CONSEQUENTIAL) OF EVERY KIND AND NATURE, KNOWN AND UNKNOWN, SUSPECTED AND UNSUSPECTED,
DISCLOSED AND UNDISCLOSED, ARISING OUT OF OR IN ANY WAY CONNECTED WITH SUCH DISPUTES.

8. Limitation of Liability.

WE WILL NOT BE LIABLE (WHETHER IN CONTRACT, WARRANTY, TORT (INCLUDING NEGLIGENCE, PRODUCT
LIABILITY, OR OTHER THEORY), OR OTHERWISE) TO YOU OR ANY OTHER PERSON FOR COST OF COVER, RECOVERY,
OR RECOUPMENT OF ANY INVESTMENT MADE BY YOU OR YOUR AFFILIATES IN CONNECTION WITH THIS
AGREEMENT, OR FOR ANY LOSS OF PROFIT, REVENUE, BUSINESS, OR DATA OR PUNITIVE OR CONSEQUENTIAL
DAMAGES ARISING OUT OF OR RELATING TO THIS AGREEMENT, EVEN IF AMAZON HAS BEEN ADVISED OF THE
POSSIBILITY OF THOSE COSTS OR DAMAGES. FURTHER, OUR AGGREGATE LIABILITY ARISING OUT OF OR IN
CONNECTION WITH THIS AGREEMENT OR THE TRANSACTIONS CONTEMPLATED WILL NOT EXCEED AT ANY TIME
THE TOTAL AMOUNTS DURING THE PRIOR SIX MONTH PERIOD PAID BY YOU TO AMAZON IN CONNECTION WITH
THE PARTICULAR SERVICE GIVING RISE TO THE CLAIM.

9. Insurance.

If the gross proceeds from Your Transactions exceed the applicable Insurance Threshold during each month over
any period of three (3) consecutive months, or otherwise if requested by us, then within thirty (30) days
thereafter, you will maintain at your expense throughout the remainder of the Term for each applicable Elected
Country commercial general, umbrella or excess liability insurance with the Insurance Limits per occurrence and in
aggregate covering liabilities caused by or occurring in conjunction with the operation of your business, including
products, products/completed operations and bodily injury, with policy(ies) naming Amazon and its assignees as
additional insureds. At our request, you will provide to us certificates of insurance for the coverage to the
following address: c/o Amazon, P.O. Box 81226, Seattle, WA 98108-1226, Attention: Risk Management.

10. Tax Matters.

As between the parties, you will be responsible for the collection, reporting, and payment of any and all of Your
Taxes, except to the extent that (i) Amazon automatically calculates, collects, or remits taxes on your behalf
according to applicable law; or (ii) Amazon expressly agrees to receive taxes or other transaction-based charges on
your behalf in connection with tax calculation services made available by Amazon and used by you. You agree to
and will comply with the Tax Policies. All fees and payments payable by you to Amazon under this Agreement or
the applicable Service Terms are exclusive of any applicable taxes, deductions or withholding (including but not
limited to cross-border withholding taxes), and you will be responsible for paying Amazon any of Your Taxes
imposed on such fees and any deduction or withholding required on any payment.

11. Confidentiality and Personal Data.

During the course of your use of the Services, you may receive Confidential Information. You agree that for the
term of the Agreement and 5 years after termination: (a) all Confidential Information will remain Amazon's
exclusive property; (b) you will use Confidential Information only as is reasonably necessary for your participation
in the Services; (c) you will not otherwise disclose Confidential Information to any other Person except as required
to comply with the Law; (d) you will take all reasonable measures to protect the Confidential Information against
any use or disclosure that is not expressly permitted in this Agreement; and (e) you will retain Confidential
Information only for so long as its use is necessary for participation in the Services or to fulfill your statutory
obligations (e.g. tax) and in all cases will delete such information upon termination or as soon as no longer
required for the fulfillment of statutory obligations. The foregoing sentence does not restrict your right to share


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Confidential Information with a governmental entity that has jurisdiction over you, provided that you limit the
disclosure to the minimum necessary and explicitly indicate the confidential nature of the shared information to
the governmental entity. You may not issue any press release or make any public statement related to the
Services, or use our name, trademarks, or logo, in any way (including in promotional material) without our advance
written permission, or misrepresent or embellish the relationship between us in any way. You may only use the
Amazon Mark as defined in and according to the Trademark Usage Guidelines available in Seller Central; you may
not use our name, trademarks, or logos in any way (including in promotional material) not covered by the
Trademark Usage Guidelines without our advance written permission.

Generally, you may not use customer personal data in any way inconsistent with applicable Law. You must keep
customer personal data confidential at all times (the above 5 years’ term limit does not apply to customer personal
data).

12. Force Majeure.

We will not be liable for any delay or failure to perform any of our obligations under this Agreement by reasons,
events or other matters beyond our reasonable control.

13. Relationship of Parties.

Subject to the Transaction Processing Service Terms (if the Elected Country for a Service is the United States), you
and we are independent contractors, and nothing in this Agreement will create any partnership, joint venture,
agency, franchise, sales representative, or employment relationship between us. You will have no authority to
make or accept any offers or representations on our behalf. This Agreement will not create an exclusive
relationship between you and us. Nothing expressed or mentioned in or implied from this Agreement is intended
or will be construed to give to any person other than the parties to this Agreement any legal or equitable right,
remedy, or claim under or in respect to this Agreement. This Agreement and all of the representations, warranties,
covenants, conditions, and provisions in this Agreement are intended to be and are for the sole and exclusive
benefit of Amazon, you, and customers. As between you and us, you will be solely responsible for all obligations
associated with the use of any third party service or feature that you permit us to use on your behalf, including
compliance with any applicable terms of use. You will not make any statement, whether on your site or otherwise,
that would contradict anything in this section.

14. Suggestions and Other Information.

If you or any of your Affiliates elect to provide or make available suggestions, comments, ideas, improvements, or
other feedback or materials to us in connection with or related to any Amazon Site or Service (including any
related Technology), we will be free to use, disclose, reproduce, modify, license, transfer and otherwise distribute,
and exploit any of the foregoing information or materials in any manner. In order to cooperate with governmental
requests, to protect our systems and customers, or to ensure the integrity and operation of our business and
systems, we may access and disclose any information we consider necessary or appropriate, including but not
limited to user contact details, IP addresses and traffic information, usage history, and posted content. If we make
suggestions on using the Services, you are responsible for any actions you take based on our suggestions.

15. Modification.

15.1. We will provide at least 15 days’ advance notice in accordance with Section 18 for changes to the Agreement.

15.2 However, we may change or modify the Agreement at any time with immediate effect (a) for legal,
regulatory, fraud and abuse prevention, or security reasons; (b) to change existing features or add additional
features to the Services (where this does not materially adversely affect your use of the Services); or (c) to restrict

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products or activities that we deem unsafe, inappropriate, or offensive. We will notify you about any change or
modification in accordance with Section 18.

15.3 Your continued use of the Services after the effective date of any change to this Agreement in accordance
with this Section 15 will constitute your acceptance of that change. If any change is unacceptable to you, you agree
not to use the Services and to end the Agreement as described in Section 3.

16. Password Security.

Any password we provide to you may be used only during the Term to access Seller Central (or other tools we
provide, as applicable) to use the Services, electronically accept Your Transactions, and review your completed
transactions. You are solely responsible for maintaining the security of your password. You may not disclose your
password to any third party (other than third parties authorized by you to use your account in accordance with this
Agreement) and are solely responsible for any use of or action taken under your password. If your password is
compromised, you must immediately change your password.

17. Export.

You will not directly or indirectly export, re-export, transmit, or cause to be exported, re-exported or transmitted,
any commodities, software or technology to any country, individual, corporation, organization, or entity to which
such export, re-export, or transmission is restricted or prohibited, including any country, individual, corporation,
organization, or entity under sanctions or embargoes administered by the United Nations, US Departments of
State, Treasury or Commerce, the European Union, or any other applicable government authority.

18. Miscellaneous.

The Governing Laws will govern this Agreement, without reference to rules governing choice of laws or the
Convention on Contracts for the International Sale of Goods. If the Elected Country is the United States, Canada, or
Mexico, Amazon and you both consent that any dispute with Amazon or its Affiliates or claim relating in any way
to this Agreement or your use of the Services will be resolved by binding arbitration as described in this
paragraph, rather than in court, except that (i) you may assert claims in a small claims court that is a Governing
Court if your claims qualify and (ii) you or we may bring suit in the Governing Courts, submitting to the jurisdiction
of the Governing Courts and waiving our respective rights to any other jurisdiction, to enjoin infringement or other
misuse of intellectual property rights. There is no judge or jury in arbitration, and court review of an arbitration
award is limited. However, an arbitrator can award on an individual basis the same damages and relief as a
court (including injunctive and declaratory relief or statutory damages), and must follow the terms of this
Agreement as a court would. Before you may begin an arbitration proceeding, you must send a letter requesting
arbitration and describing your claim to our registered agent, CSC Services of Nevada, Inc., 2215-B Renaissance
Drive, Las Vegas, NV 89119. The arbitration will be conducted by the American Arbitration Association (AAA) under
its commercial rules. Payment of all filing, administration and arbitrator fees will be governed by the AAA's rules.
We will reimburse those fees for claims totaling less than $10,000 unless the arbitrator determines the claims are
frivolous. The expedited procedures of the AAA’s rules will apply only in cases seeking exclusively monetary relief
under $50,000, and in such cases the hearing will be scheduled to take place within 90 days of the arbitrator’s
appointment. Likewise, Amazon will not seek attorneys' fees and costs from you in arbitration unless the arbitrator
determines the claims are frivolous. You may choose to have the arbitration conducted by telephone, based on
written submissions, or in person at a mutually agreed location. Amazon and you each agree that any dispute
resolution proceedings will be conducted only on an individual basis and not in a class, consolidated or
representative action. If for any reason a claim proceeds in court rather than in arbitration Amazon and you each
waive any right to a jury trial.




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You may not assign this Agreement, by operation of law or otherwise, without our prior written consent. Any
attempt to assign or otherwise transfer in violation of this section is void; provided, however, that upon notice to
Amazon, you may assign or transfer this Agreement, in whole or in part, to any of your Affiliates as long as you
remain liable for your obligations that arose prior to the effective date of the assignment or transfer under this
Agreement. You agree that we may assign or transfer our rights and obligations under this Agreement: (a) in
connection with a merger, consolidation, acquisition or sale of all or substantially all of our assets or similar
transaction; or (b) to any Affiliate or as part of a corporate reorganization; and effective upon such assignment, the
assignee is deemed substituted for Amazon as the party to this Agreement. Subject to that restriction, this
Agreement will be binding on, inure to, and be enforceable against the parties and their respective successors and
assigns. We may perform any of our obligations or exercise any of our rights under this Agreement through one or
more of our Affiliates. Amazon retains the right to immediately halt any of Your Transactions, prevent or restrict
access to the Services or take any other action to restrict access to or availability of any inaccurate listing, any
inappropriately categorized items, any unlawful items, or any items otherwise prohibited by applicable Program
Policies. Because Amazon is not your agent (except for the limited purpose set out in the Transaction Processing
Service Terms (if the Elected Country for a Service is the United States)), or the customer’s agent for any purpose,
Amazon will not act as either party's agent in connection with resolving any disputes between participants related
to or arising out of any transaction.

Amazon will provide notice to you under this Agreement by posting changes to Seller Central or to the applicable
Amazon Services site to which the changes relate (such as the Developer Site accessible through your account), by
sending you an email notification, or by similar means. You must send all notices and other communications
relating to Amazon to our Selling Partner Support team via Seller Central, email, the Contact Us form, or similar
means. We may also communicate with you electronically and in other media, and you consent to such
communications. You may change your e-mail addresses and certain other information in Seller Central, as
applicable. You will ensure that all of your information is up to date and accurate at all times.

If any provision of this Agreement is deemed unlawful, void, or for any reason unenforceable, then that provision
will be deemed severable from these terms and conditions and will not affect the validity and enforceability of any
remaining provisions. If the Elected Country is Canada, then it is the express wish of the parties that this
Agreement and the applicable Service Terms and Program Policies have been drafted in English. (The following is a
French translation of the preceding sentence: Si le pays de service est le Canada, les parties conviennent que la
présente autorisation et tous les termes et conditions applicables s'y rattachant soient rédigés en anglais.) We may
make available translations to this Agreement and the applicable Service Terms and Program Policies, but the
English version will control. This Agreement represents the entire agreement between the parties with respect to
the Services and related subject matter and supersedes any previous or contemporaneous oral or written
agreements and understandings.

Definitions

As used in this Agreement, the following terms have the following meanings:

"Affiliate" means, with respect to any entity, any other entity that directly or indirectly controls, is controlled by,
or is under common control with that entity.

"Amazon Associated Properties" means any website or other online point of presence, mobile application, service
or feature, other than an Amazon Site, through which any Amazon Site, or products or services available on any of
them, are syndicated, offered, merchandised, advertised, or described.

"Amazon Contracting Party" means the party outlined below.

       • If the Elected Country is Canada:


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                   Service                              Amazon Contracting Party               •

 Selling on Amazon                              Amazon Services International, Inc.

 Selling on Amazon (if your account is
                                                Amazon Services Contracts, Inc.
 enabled to list Optional Coverage Plans)

 Fulfillment by Amazon                          Amazon.com.ca, Inc.

 Amazon Clicks                                  Amazon Services International, Inc.


       •
       • If the Elected Country is Mexico:

                   Service                              Amazon Contracting Party               •

                                                Servicios Comerciales Amazon México S. de
 Selling on Amazon
                                                R.L. de C.V.

                                                Servicios Comerciales Amazon México S. de
 Fulfillment by Amazon
                                                R.L. de C.V.

                                                Servicios Comerciales Amazon México S. de
 Amazon Clicks
                                                R.L. de C.V.


       • If the Elected Country is the United States:

                   Service                              Amazon Contracting Party               •

 Selling on Amazon                              Amazon Services LLC

 Selling on Amazon (if your account is
                                                Amazon Services Contracts, Inc.
 enabled to list Optional Coverage Plans)

 Fulfillment by Amazon                          Amazon Services LLC

 Amazon Clicks                                  Amazon Services LLC

                                                Amazon Payments, Inc., Amazon Capital
                                                Services, Inc., or Amazon Services LLC,
 Transaction Processing Services
                                                according to the Transaction Processing
                                                Services Terms


       • If you register for or use the Selling Partner API, the Amazon Contracting Party is the Contracting Party
             that provides the applicable Service you use in connection with the Selling Partner API.

"Amazon Site" means, as applicable, the CA Amazon Site, the MX Amazon Site, or the US Amazon Site.

"CA Amazon Site" means the website, the primary home page of which is identified by the url www.amazon.ca,
and any successor or replacement of such website.

"Confidential Information" means information relating to us, to the Services, or Amazon customers that is not
known to the general public including, but not limited to, any information identifying or unique to specific


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customers; reports, insights, and other information about the Services; data derived from the Services except for
data (other than customer personal data) arising from the sale of your products comprising of products sold,
prices, sales, volumes and time of the transaction; and technical or operational specifications relating to the
Services. For the purposes of this Agreement, customer personal data constitutes Confidential Information at all
times.

"Content" means copyrightable works under applicable Law and content protected by database rights under
applicable Law.

"Excluded Products" means the items described on the applicable Restricted Products pages in Seller Central, any
other applicable Program Policy, or any other information made available to you by Amazon.

"Governing Courts" means the applicable one of the following:

       • the state or Federal court in King County, Washington (if the Elected Country is Canada, Mexico, or the
            United States),

"Governing Laws" means the applicable one of the following:

       • the laws of the State of Washington, United States together with the Federal Arbitration Act and other
            applicable federal law (if the Elected Country is Canada, Mexico, or the United States),

"Insurance Limits" means the applicable one of the following:

       • One Million Canadian Dollars ($1,000,000) (if the Elected Country is Canada),
       •
       • Ten Million Mexican Pesos ($10,000,000) (if the Elected Country is Mexico),
       • One Million U.S. Dollars ($1,000,000) (if the Elected Country is the United States).

"Insurance Threshold" means the applicable one of the following:

       • Ten Thousand Canadian Dollars ($10,000) (if the Elected Country is Canada),
       • One Hundred Thousand Mexican Pesos ($100,000) (if the Elected Country is Mexico),
       • Ten Thousand U.S. Dollars ($10,000) (if the Elected Country is the United States).

"Intellectual Property Right" means any patent, copyright, Trademark, domain name, moral right, trade secret
right, or any other intellectual property right arising under any Laws and all ancillary and related rights, including
all rights of registration and renewal and causes of action for violation, misappropriation or infringement of any of
the foregoing.

"Law" means any law, ordinance, rule, regulation, order, license, permit, judgment, decision, or other
requirement, now or in the future in effect, of any governmental authority (e.g., on a federal, state, or provincial
level, as applicable) of competent jurisdiction.

"Local Currency" means the applicable one of the following:

       • U.S. Dollars (if the Elected Country is the United States),
       • Canadian Dollars (if the Elected Country is Canada),
       • Mexican Pesos (if the Elected Country is Mexico),



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"MX Amazon Site" means the website, the primary home page of which is identified by the url
www.amazon.com.mx, and any successor or replacement of such website.

"Optional Coverage Plans" means warranties, extended service plans and related offerings, in each case as
determined by us, that you offer.

"Order Information" means, with respect to any of Your Products ordered through an Amazon Site, the order
information and shipping information that we provide or make available to you.

"Person" means any individual, corporation, partnership, limited liability company, governmental authority,
association, joint venture, division, or other cognizable entity, whether or not having distinct legal existence.

"Program Policies" means all policies and program terms provided on the Program Policies page.

"Sales Proceeds" means the gross proceeds from any of Your Transactions, including (a) all shipping and handling,
gift wrap and other charges; (b) taxes and customs duties to the extent specified in the applicable Tax Policies; and
(c) in the case of invoiced orders, any amounts that customers fail to pay to us or our Affiliates on or before the
applicable invoice due date.

"Seller Central" means the online portal and tools made available by Amazon to you, for your use in managing
your orders, inventory, and presence on a particular Amazon Site or any other online point of presence.

"Service" means each of the following services: Selling on Amazon, Fulfillment by Amazon, Amazon Clicks
(including Amazon Sponsored Products), the Selling Partner APIs, and, if the Elected Country for a Service is the
United States, the Transaction Processing Services, together in each case with any related services and materials
we make available.

"Service Terms" means the service terms applicable to each Service, which are made part of this Agreement upon
the date you elect to register for or use the applicable Service, and any subsequent modifications we make to
those terms.

"Technology" means any: (a) ideas, procedures, processes, systems, methods of operation, concepts, principles,
and discoveries protected or protectable under the Laws of any jurisdiction; (b) interfaces, protocols, glossaries,
libraries, structured XML formats, specifications, grammars, data formats, or other similar materials; and (c)
software, hardware, code, technology, or other functional item.

"Trademark" means any trademark, service mark, trade dress (including any proprietary "look and feel"), trade
name, other proprietary logo or insignia, or any other source or business identifier, protected or protectable under
any Laws.

"US Amazon Site" means that website, the primary home page of which is identified by the url www.amazon.com,
and any successor or replacement of such website.

"Your Materials" means all Technology, Your Trademarks, Content, Your Product information, data, materials, and
other items or information provided or made available by you or your Affiliates to Amazon or its Affiliates.

"Your Personnel" means any third party warranting, administering or otherwise involved in the offer, sale,
performance, or fulfillment of Your Products, including any of your employees, representatives, agents,
contractors, or subcontractors.



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"Your Product" means any product or service (including Optional Coverage Plans) that you: (a) have offered
through the Selling on Amazon Service; (b) have made available for advertising through the Amazon Clicks Service;
or (c) have fulfilled or otherwise processed through the Fulfillment by Amazon Service.

"Your Sales Channels" means all sales channels and other means through which you or any of your Affiliates offers
products or services, other than physical stores.

"Your Taxes" means any and all sales, goods and services, use, excise, premium, import, export, value added,
consumption, and other taxes, regulatory fees, levies (specifically including environmental levies), or charges and
duties assessed, incurred, or required to be collected or paid for any reason (a) in connection with any
advertisement, offer or sale of products or services by you on or through or in connection with the Services; (b) in
connection with any products or services provided for which Your Products are, directly or indirectly, involved as a
form of payment or exchange; or (c) otherwise in connection with any action, inaction, or omission of you or your
Affiliates, or any Persons providing products or services, or your or their respective employees, agents,
contractors, or representatives, for which Your Products are, directly or indirectly, involved as a form of payment
or exchange. Also, if the Elected Country is the United States, Mexico, or Canada as it is used in the Fulfillment by
Amazon Service Terms, this defined term also means any of the types of taxes, duties, levies, or fees mentioned
above that are imposed on or collectible by Amazon or any of its Affiliates in connection with or as a result of
fulfillment services including the storage of inventory or packaging of Your Products and other materials owned by
you and stored by Amazon, shipping, gift wrapping, or other actions by Amazon in relation to Your Products
pursuant to the Fulfillment by Amazon Service Terms.

"Your Trademarks" means Trademarks of yours that you provide to us: (a) in non-text form for branding purposes;
and (b) separate from (and not embedded or otherwise incorporated in) any product specific information or
materials.

"Your Transaction" means any sale of Your Product(s) through an Amazon Site.

Selling on Amazon Service Terms

The Selling on Amazon Service ("Selling on Amazon") is a Service that allows you to offer certain products and
services directly on the Amazon Sites.

These Selling on Amazon Service Terms are part of the Agreement, but, unless specifically provided otherwise,
concern and apply only to your participation in Selling on Amazon. BY REGISTERING FOR OR USING THE SELLING
ON AMAZON SERVICE, YOU (ON BEHALF OF YOURSELF OR THE BUSINESS YOU REPRESENT) AGREE TO BE BOUND
BY THE AGREEMENT, INCLUDING THESE SELLING ON AMAZON SERVICE TERMS. NOTWITHSTANDING THE
PREVIOUS SENTENCE, IF YOU HAVE ENTERED INTO A SEPARATE AGREEMENT THAT PERMITS YOU TO OFFER
YOUR PRODUCTS THROUGH A PARTICULAR AMAZON SITE (E.G., A MERCHANTS@ AMAZON.COM PROGRAM
AGREEMENT, MERCHANTS @AMAZON.CO.JP PROGRAM AGREEMENT OR ANY PREDECESSOR OF THOSE
AGREEMENTS), THEN TO THE EXTENT THAT YOU CONTINUE TO LIST AND SELL YOUR PRODUCTS ON THAT
AMAZON SITE PURSUANT TO SUCH SEPARATE AGREEMENT, TRANSACTIONS OF YOUR PRODUCTS ON THAT
AMAZON SITE AND ANY TAX SERVICES WE MAKE AVAILABLE UNDER THAT AGREEMENT ARE GOVERNED BY THE
TERMS OF THAT AGREEMENT AND NOT BY THESE SELLING ON AMAZON SERVICE TERMS.

S-1 Your Product Listings and Orders.

S-1.1 Products and Product Information. You will provide accurate and complete Required Product Information
for each product or service that you offer through any Amazon Site and promptly update that information as
necessary to ensure it at all times remains accurate and complete. You will also ensure that Your Materials, Your
Products (including packaging) and your offer and subsequent sale of any of the same on any Amazon Site comply

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with all applicable Laws (including all minimum age, marking and labeling requirements) and do not contain any
sexually explicit (except to the extent expressly permitted under our applicable Program Policies), defamatory or
obscene materials. You may not provide any information for, or otherwise seek to offer any Excluded Products on
any Amazon Sites; or provide any URL Marks for use, or request that any URL Marks be used, on any Amazon Site.
If you offer a product for sale on an Amazon Site that requires a warning under California Health & Safety Code
Section 25249.6 (a “Proposition 65 Warning”) you (a) will provide us with such warning in the manner specified in
our Program Policies, (b) agree that our display of a Proposition 65 Warning on a product detail page is
confirmation of our receipt of that warning, and (c) will only revise or remove a Proposition 65 Warning for a
product when the prior warning is no longer legally required.

S-1.2 Product Listing; Merchandising; Order Processing. We will enable you to list Your Products on a particular
Amazon Site, and conduct merchandising and promote Your Products in accordance with the Agreement (including
via the Amazon Associated Properties or any other functions, features, advertising, or programs on or in
connection with the applicable Amazon Site). We may use mechanisms that rate, or allow shoppers to rate, Your
Products and your performance as a seller and Amazon may make these ratings and feedback publicly available.
We will provide Order Information to you for each order of Your Products through the applicable Amazon Site. We
will also receive all Sales Proceeds on your behalf for each of these transactions and will have exclusive rights to do
so, and will remit them to you in accordance with these Selling on Amazon Service Terms. We may permit certain
customers to place invoiced orders for Your Products, in which case remittance of Sales Proceeds may be delayed
according to each customer’s invoicing terms. You will accept and fulfill invoiced orders in the same manner as you
accept and fulfill non-invoiced orders, except as otherwise provided in this Agreement.

S-1.3 Shipping and Handling Charges. For Your Products ordered by customers on or through an Amazon Site that
are not fulfilled using Fulfillment by Amazon, you will determine the shipping and handling charges subject to our
Program Policies and standard functionality (including any category-based shipping and handling charges we
determine, such as for products offered by sellers on the Individual selling plan and BMVD Products generally).
When we determine the shipping and handling charges, you will accept them as payment in full for your shipping
and handling. Please refer to the Fulfillment by Amazon Service Terms for Your Products that are fulfilled using
Fulfillment by Amazon.

S-1.4 Credit Card Fraud and Unpaid Invoices. We will bear the risk of (a) credit card fraud (i.e., a fraudulent
purchase arising from the theft and unauthorized use of a third party's credit card information) occurring in
connection with Your Transactions, and (b) late payments or defaults by customers in connection with invoiced
orders for Your Products, except, in each case, in connection with Seller-Fulfilled Products that are not fulfilled
strictly in accordance with the Order Information and Shipment Information. You will bear all other risk of fraud or
loss.

S-2 Sale and Fulfillment; Refunds and Returns.

S-2.1 Sale and Fulfillment. Other than as described in the Fulfillment by Amazon Service Terms for each Amazon
Site for which you decide to register or use the Selling on Amazon Service, you will: (a) source, offer, sell and fulfill
your Seller-Fulfilled Products, and source and, offer and sell your Amazon-Fulfilled Products, in each case in
accordance with the terms of the applicable Order Information, this Agreement, and all terms provided by you or
us and displayed on the applicable Amazon Site at the time of the order and be solely responsible for and bear all
risk for those activities; (b) package each of Your Products in a commercially reasonable manner complying with all
applicable packaging and labeling requirements and ship each of Your Products on or before its Expected Ship
Date; (c) retrieve Order Information at least once each business day; (d) only cancel Your Transactions as permitted
pursuant to your terms and conditions appearing on the applicable Amazon Site at the time of the applicable order
or as may be required under this Agreement; (e) fulfill Your Products throughout the Elected Country (except to
the extent prohibited by Law or this Agreement); (f) provide to Amazon information regarding fulfillment and
order status and tracking (to the extent available), in each case as requested by us using the processes designated
by us, and we may make any of this information publicly available; (g) comply with all Street Date instructions; (h)

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ensure that you are the seller of each of Your Products; (i) include an order-specific packing slip, and, if applicable,
any tax invoices, within each shipment of Your Products; (j) identify yourself as the seller of each of Your Products
on all packing slips or other information included or provided in connection with Your Products and as the Person
to which a customer may return the applicable product; and (k) not send customers emails confirming orders or
fulfillment of Your Products. If any of Your Products are fulfilled using Fulfillment by Amazon, the Fulfillment by
Amazon Service Terms for the applicable Amazon Site will apply to the storage, fulfillment, and delivery of such
Amazon-Fulfilled Products.

S-2.2 Cancellations, Returns, and Refunds. The Amazon Refund Policies for the applicable Amazon Site will apply
to Your Products. Subject to Section F-6, for any of Your Products fulfilled using Fulfillment by Amazon, you will
promptly accept, calculate, and process cancellations, returns, refunds, and adjustments in accordance with this
Agreement and the Amazon Refund Policies for the applicable Amazon Site, using functionality we enable for your
account. Without limiting your obligations, we may in our sole discretion accept, calculate, and process
cancellations, returns, refunds, and adjustments for the benefit of customers. You will route any payments to
customers in connection with Your Transactions through Amazon. We will make any payments to customers in the
manner we determine, and you will reimburse us for all amounts we pay.

S-3 Problems with Your Products.

S-3.1 Delivery Errors and Nonconformities; Recalls. You are responsible for any non-performance, non-delivery,
misdelivery, theft, or other mistake or act in connection with the fulfillment of Your Products, except to the extent
caused by: (a) credit card fraud for which we are responsible under Section S-1.4; or (b) our failure to make
available to you Order Information as it was received by us or resulting from address verification. Notwithstanding
the previous sentence, for those of Your Products that are fulfilled using Fulfillment by Amazon, if any, the
Fulfillment by Amazon Service Terms for the applicable Amazon Site will apply to non-delivery, misdelivery, theft,
or other mistake or act in connection with the fulfillment of those of Your Products. You are also responsible for
any non-conformity or defect in, any public or private recall of, or safety alert of any of Your Products or other
products provided in connection with Your Products. You will notify us promptly as soon as you have knowledge of
any public or private recalls, or safety alerts of Your Products or other products provided in connection with Your
Products.

S-3.2 A-to-z Guarantee and Chargebacks. If we inform you that we have received or initiated a claim under the "A-
to-z Guarantee" offered on a particular Amazon Site or other dispute relating to the offer, sale or fulfillment of
Your Products (other than a chargeback), concerning one of Your Transactions, you will have 30 days to appeal our
decision of the claim. If we find that a claim, chargeback, or dispute is your responsibility, you (a) will not take
recourse against the customer, and (b) are responsible for reimbursing us in accordance with the Service Fee
Payments section of this Agreement for the amount paid by the customer (including taxes and shipping and
handling charges, but excluding any Referral Fees that we retained as defined in Section S-4), and all other fees and
expenses associated with the original transaction (such as credit card, bank, payment processing, re-presentment,
or penalty fees) and any related chargebacks or refunds, to the extent payable by us.

S-4 Compensation.

You will pay us: (a) the applicable Referral Fees; (b) any applicable Variable Closing Fee; (c) the non-refundable
Selling on Amazon Subscription Fee in advance each month; and (d) any other applicable fees described in this
Agreement (including any applicable Program Policies). "Selling on Amazon Subscription Fee" means the fee
specified as such on the Selling on Amazon Fee Schedule for the applicable Amazon Site at the time such fee is
payable. With respect to each of Your Transactions: (i) "Sales Proceeds" has the meaning set out in this
Agreement; (ii) "Variable Closing Fee" means the applicable fee, if any, as specified on the Variable Closing Fee
Schedule for the applicable Amazon Site; and (iii) "Referral Fee" means the applicable fee based on the Sales
Proceeds from Your Transaction through the applicable Amazon Site specified on the Selling on Amazon Fee
Schedule for that Amazon Site at the time of Your Transaction, based on the categorization by Amazon of the type

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of product that is the subject of Your Transaction; provided, however, that Sales Proceeds will not include any
shipping charges set by us in the case of Your Transactions that consist solely of products fulfilled using Fulfillment
by Amazon.

S-5 Remittance of Sales Proceeds & Refunds.

Except as otherwise stated in this Agreement, we will remit to you your available balance on a bi-weekly (14 day)
(or at our option, more frequent) basis, which may vary for each Elected Country. For each remittance, your
available balance is equal to any Sales Proceeds not previously remitted to you as of the applicable Remittance
Calculation Date (which you will accept as payment in full for Your Transactions), less: (a) the Referral Fees; (b) the
applicable Variable Closing Fee; (c) any Selling on Amazon Subscription Fees; (d) any other applicable fees
described in this Agreement (including any applicable Program Policies); (e) any amounts we require you to
maintain in your account balance pursuant to this Agreement (including payments withheld pursuant to Section 2
of the General Terms, Section S-1.4, and applicable Program Policies); and (f) any taxes that Amazon automatically
calculates, collects and remits to a tax authority according to applicable law, as specified in the Tax Policies.

We may establish a reserve on your account based on our assessment of risks to Amazon or third parties posed by
your actions or performance, and we may modify the amount of the reserve from time to time at our sole
discretion.

When you either initially provide or later change Your Bank Account information, the Remittance Calculation Date
may be deferred by up to 14 days. For sellers that registered after October 30, 2011 and are on the Individual
selling plan, the remittance amount will not include Sales Proceeds from the 14-day period before the date of
remittance. If you refund money to a customer in connection with one of Your Transactions, and the refund is
routed through us (or our Affiliate), on the next available Remittance Calculation Date we will refund to you the
amount of the Referral Fee paid by you to us attributable to the amount of the customer refund (including
refunded taxes and customs duties only to the extent specified in the applicable Tax Policies), less the Refund
Administration Fee for each of Your Products refunded that is not a BMVD Product, which amount we may retain
as an administrative fee; provided, however, that in the case of a complete refund of Sales Proceeds for a Media
Product, we will refund to you the full amount of any Variable Closing Fee paid by you to us (and in the case of a
partial refund of Sales Proceeds for a Media Product, we will not refund to you any portion of any Variable Closing
Fee paid by you to us). We will remit any amounts to be refunded by us pursuant to this subsection from time to
time together with the next remittance to be made by us to you. “Refund Administration Fee” means the
applicable fee described on the Refund Administration Fee Schedule for the applicable Amazon Site.

Net Sales Proceeds from non-invoiced orders will be credited to your available balance when they are received by
us or our Affiliates. Sales Proceeds from invoiced orders will be credited to your available balance: (a) if you have
elected in advance to pay a fee to accelerate remittance of Sales Proceeds from invoiced orders, on the day all of
Your Products included in an invoiced orders are shipped; or (b) otherwise, no later than the seventh day following
the date that an invoiced order becomes due.

S-6 Amazon’s Websites and Services.

Amazon has the right to determine, the design, content, functionality, availability and appropriateness of its
websites, selection, and any product or listing in the Amazon Stores, and all aspects of each Service, including your
use of the same. Amazon may assign any of these rights or delegate any of its responsibilities.

S-7 Continuing Guarantees

Guarantees. We require the following continuing guarantees from you.



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S-7.1 Pesticides. If any of Your Products is a “pesticide” being offered or sold in the United States or other product
regulated under the US Federal Insecticide, Fungicide, and Rodenticide Act (“FIFRA”) or its implementing
regulations, then you provide to us the following continuing guaranty that: (a) you are a resident of the United
States; and (b) with respect to each such product, the pesticides and other FIFRA regulated products comprising
each sale, shipment, or other delivery made previously or hereafter are: (i) lawfully registered with the US
Environmental Protection Agency at the time of sale, shipment, or delivery, or fully qualified for a specific
exemption from the FIFRA registration requirements at the time of sale, shipment, or delivery, (ii) compliant with
all requirements of FIFRA and its implementing regulations at the time of sale, shipment, or delivery, and (iii)
provided by you in the original, unbroken packaging.

Selling on Amazon Definitions

"Amazon-Fulfilled Products" means any of Your Products that are fulfilled using the Fulfillment by Amazon
Service.

"Amazon Refund Policies" means the return and refund policies published on the applicable Amazon Site and
applicable to products and services offered via that Amazon Site.

"BMVD Product" means any book, magazine or other publication, sound recording, video recording, and/or other
media product in any format, including any subscription, in each case excluding any software product, computer
game, and/or video game.

"Excluded Offer" means any discount, rebate, promotional offer, or other term of offer and/or sale that you: (a)
have attempted to make available through a particular Amazon Site but that we do not honor or support (but only
until such time as we honor or support the same on such Amazon Site); or (b) make available solely to third parties
that either (i) purchase products solely for resale and who are not end users of such products (i.e., wholesale
purchasers), or (ii) if the Elected Country is Canada, Mexico, or the United States, have affirmatively elected and
opted-in to participate in your or one of your Affiliates' membership-based customer loyalty or customer incentive
programs.

"Expected Ship Date" means, with respect to any of Your Products, either: (a) the end of the shipping availability
period (which begins as of the date on which the relevant order is placed by the customer), or the shipping
availability date, as applicable, specified by you in the relevant inventory/product data feed for Your Product; or
(b) if you do not specify shipping availability information in such inventory/product data feed or that Your Product
is in a product category that Amazon designates as requiring shipment within two (2) business days, two (2)
business days after the date on which the relevant order is placed by the customer.

"Media Product" means any book, magazine or other publication, sound recording, video recording, software
product, computer game, videogame, or other media product in any format, including any related subscription,
offered through an Amazon Site.

"Purchase Price" means the total amount payable or paid for Your Product (including taxes and shipping and
handling charges only to the extent specified in the applicable Tax Policies).

"Remittance Calculation Date" is the date that is two (2) business days prior to the date of remittance (the
"Remittance Calculation Date").

"Required Product Information" means, with respect to each of Your Products in connection with a particular
Amazon Site, the following (except to the extent expressly not required under the applicable Program Policies): (a)
description, including as applicable, location-specific availability and options, scheduling guidelines and service
cancellation policies; (b) SKU and UPC/EAN/JAN numbers, and other identifying information as Amazon may

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reasonably request; (c) information regarding in-stock status and availability, shipping limitations or requirements,
and Shipment Information (in each case, in accordance with any categorizations prescribed by Amazon from time
to time); (d) categorization within each Amazon product category and browse structure as prescribed by Amazon
from time to time; (e) digitized image that accurately depicts only Your Product, complies with all Amazon image
guidelines, and does not include any additional logos, text or other markings; (f) Purchase Price; (g) shipping and
handling charge (in accordance with our standard functionality); (h) any text, disclaimers, warnings, notices, labels,
warranties, or other content required by applicable Law to be displayed in connection with the offer,
merchandising, advertising, or sale of Your Product; (i) any vendor requirements, restocking fees or other terms
and conditions applicable to such product that a customer should be aware of prior to purchasing the product; (j)
brand; (k) model; (l) product dimensions; (m) weight; (n) a delimited list of technical specifications; (o) SKU and
UPC/EAN/JAN numbers (and other identifying information as we may reasonably request) for accessories related
to Your Product that is available in our catalog; (p) the state or country Your Product ships from; and (q) any other
information reasonably requested by us (e.g., the condition of used or refurbished products; and invoices and
other documentation demonstrating the safety and authenticity of Your Products).

"Seller-Fulfilled Products" means any of Your Products that are not fulfilled using the Fulfillment by Amazon
Service.

"Shipment Information" means, with respect to any of Your Products, the estimated or promised shipment and
delivery date.

"Street Date" means the date(s), if any, specified by the manufacturer, distributor, and/or licensor of a product as
the date before which specified information regarding such product (e.g., title of a book) should not be disclosed
publicly, or such product should not be delivered or otherwise made available to customers.

"URL Marks" means any Trademark, or any other logo, name, phrase, identifier, or character string, that contains
or incorporates any top level domain (e.g., .com, .edu, .ca, .fr, .jp) or any variation of a top level domain (e.g., dot
com, dotcom, net, or com).

"Your Transaction" is defined in the General Terms of this Agreement; however, as used in these Selling on
Amazon Service Terms, it means any and all such transactions through Selling on Amazon only.

Fulfillment by Amazon Service Terms

Fulfillment by Amazon ("FBA") provides fulfillment and associated services for Your Products.

These FBA Service Terms are part of the Agreement, and, unless specifically provided otherwise, concern and apply
only to your participation in FBA. BY REGISTERING FOR OR USING FBA, YOU (ON BEHALF OF YOURSELF OR THE
BUSINESS YOU REPRESENT) AGREE TO BE BOUND BY THE AGREEMENT, INCLUDING THESE FBA SERVICE TERMS.
You expressly agree that Amazon may engage its Affiliate(s) or a third party in order to complete one or more of
the fulfillment and associated services outlined below.

Fulfillment Services

F-1 Your Products

Once you are accepted into FBA, you must apply to register each product you offer that you wish to include in the
FBA program. We may refuse registration in FBA of any product, including on the basis that it is an FBA Excluded
Product or that it violates applicable Program Policies. You may at any time withdraw registration of any of Your
Products from FBA.


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F-2 Product and Shipping Information

You will, in accordance with applicable Program Policies, provide accurate and complete information about Your
Products registered in FBA, and will provide Fulfillment Requests for any Units fulfilled using FBA that are not sold
through an Amazon Site ("Multi-Channel Fulfillment Units"). You will promptly update any information about Your
Products in accordance with our requirements and as necessary so that the information is at all times accurate and
complete.

F-3 Shipping to Amazon

F-3.1 Except as otherwise provided in Section F-3.4 and Section F-5, FBA is limited to Units that are shipped to and
from fulfillment centers located within the applicable Elected Country, to be delivered to customers in the same
Elected Country only. You will ship Units to us in accordance with applicable Program Policies. You will be
responsible for all costs incurred to ship the Units to the shipping destination (including costs of freight and transit
insurance) and Amazon will not pay any shipping costs. You are responsible for payment of all customs, duties,
taxes, and other charges. In the case of any improperly packaged or labeled Unit, we may return the Unit to you at
your expense (pursuant to Section F-7) or re-package or re-label the Unit and charge you an administrative fee.

F-3.2 You will not deliver to us, and we may refuse to accept, any shipment or Unsuitable Unit.

F-3.3 We may, at our option, allow you to ship Units at your expense (as described in Section F-9.2) to fulfillment
centers using discounted shipping rates that we may make available to you for certain carriers. In such event, you
will use the processes and supply the information that we require for you to obtain such discounted rates. You also
must comply with standard operating procedures, weight and size restrictions, and other shipping requirements of
the applicable carriers. If we provide you with the estimated shipping costs prior to shipment, you acknowledge
and agree that actual shipping costs may vary from such estimates. In addition, if the weight of the Unit, as
determined by the applicable carrier, differs from that submitted by you to us for purposes of determining the
estimated shipping costs, then: (a) you may be charged more than the estimated shipping costs if the carrier
determines that such Unit weighs more than as submitted by you; or (b) you may be charged the full amount of
the estimated shipping costs even if the carrier determines the weight to be less than that submitted by you. You
will not use carrier account information (e.g., carrier account number, amount of shipping rates, etc.) for any
purpose, nor disclose such information to any third party, and you will protect such information as Amazon's
confidential information in accordance with Section 11 of the General Terms of this Agreement. As between you,
us, and the applicable carrier, you will be the shipper of record, and we will make payment to the carrier with
respect to the shipment of all Units using such discounted rates. Title and risk of loss for any Unit shipped using
discounted rates provided by us under this Section will remain with you, and our provision of such shipping rates
will not create any liability or responsibility for us with respect to any delay, damage, or loss incurred during
shipment. You authorize the applicable carrier to provide us with all shipment tracking information.

F-3.4 If you ship Units from outside the applicable Elected Country to fulfillment centers, you will list yourself as
the importer/consignee and nominate a customs broker. If Amazon is listed on any import documentation,
Amazon reserves the right to refuse to accept the Units covered by the import documents and any costs assessed
against or incurred by Amazon will be collected from Your Bank Account, deducted from amounts payable to you,
or by other method at our election.

F-4 Storage

We will provide storage services as described in these FBA Service Terms once we confirm receipt of delivery. We
will keep electronic records that track inventory of Units by identifying the number of Units stored in any
fulfillment center. We will not be required to physically mark or segregate Units from other inventory units (e.g.,
products with the same Amazon standard identification number) owned by us, our Affiliates or third parties in the


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applicable fulfillment center(s). If we elect to commingle Units with such other inventory units, both parties agree
that our records will be sufficient to identify which products are Units. We may move Units among facilities. If
there is a loss of or damage to any Units while they are being stored, we will, compensate you in accordance with
the FBA Guidelines, and you will, at our request, provide us a valid tax invoice for the compensation paid to you. If
we compensate you for a Unit, we will be entitled to dispose of the Unit pursuant to Section F-7. At all other times,
you will be solely responsible for any loss of, or damage to, any Units. Our confirmed receipt of delivery does not:
(a) indicate or imply that any Unit has been delivered free of loss or damage, or that any loss or damage to any
Unit later discovered occurred after confirmed receipt of delivery; (b) indicate or imply that we actually received
the number of Units of Your Product(s) specified by you for such shipment; or (c) waive, limit, or reduce any of our
rights under this Agreement. We reserve the right to change scheduling restrictions and volume limitations on the
delivery and storage of your inventory in fulfillment centers in accordance with Section 15 of the General Terms,
and you will comply with any of these restrictions or limitations.

F-5 Fulfillment

As part of our fulfillment services, we will ship Units from our inventory of Your Products to the shipping addresses
in the Elected Country included in valid customer orders, or submitted by you as part of a Fulfillment Request. We
may ship Units together with products purchased from other merchants, including any of our Affiliates. We also
may ship Units separately that are included in a single Fulfillment Request. If you participate in our export
fulfillment services, we will also ship Your Products that we determine to be eligible (each, a "Foreign-Eligible
Product") to Foreign Addresses within countries we determine to be eligible for foreign shipments, subject to the
additional terms on foreign shipments in the applicable FBA Guidelines.

F-6 Customer Returns

F-6.1 You will be responsible for and will accept and process returns of, and provide refunds and adjustments for,
any Multi-Channel Fulfillment Units in accordance with the Agreement (including the applicable Program Policies).

F-6.2 We will receive and process returns of any Amazon Fulfillment Units that were shipped to addresses within
the Elected Country in accordance with the terms of your Seller Agreement, these FBA Service Terms, and the
Program Policies. Any Sellable Units that are also Amazon Fulfillment Units and that are properly returned will be
placed back into the inventory of Your Products in the FBA Program. We may fulfill customer orders for Your
Products with any returned Amazon Fulfillment Units. Except as provided in Section F-7, you will retake title of all
Units that are returned by customers.

F-6.3 Subject to Section F-7, we will, at your direction, either return or dispose of any Unit that is returned to us by
a customer and that we determine is an Unsuitable Unit.

F-6.4 If Amazon receives a customer return of a Multi-Channel Fulfillment Unit, you will direct us to return or
dispose of the Unit at your own cost failing which we may dispose of the Unit as provided in Section F-7.

F-7 Returns to You and Disposal

F-7.1 You may, at any time, request that Units be returned to you or that we dispose of Units.

F-7.2 We may with notice return Units to you, including upon termination of these FBA Service Terms. Returned
Units will be sent to your designated shipping address. However, if (a) the designated shipping address we have for
you is outdated or incorrect, (b) you have not provided or, upon our request, confirmed a designated shipping
address in the Elected Country, or (c) we cannot make arrangements for you to pay for the return shipment, then
the Unit(s) will be deemed abandoned and we may elect to dispose of them as appropriate based on the inventory
(e.g., by selling, recycling, donating, or destroying it) and retain any proceeds we may receive from the disposal.

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We may dispose of any Unsuitable Unit (and you will be deemed to have consented to our action): (d) immediately
if we determine that (i) the Unit creates a safety, health, or liability risk to Amazon, our personnel, or any third
party; (ii) you have engaged in fraudulent or illegal activity; or (iii) we have cause to terminate your use of Services
with immediate effect pursuant to Section 3 and are exposed to liability towards a third party; (e) if you fail to
direct us to return or dispose of any Unsuitable Unit within thirty (30) days after we notify you that the Unit has
been recalled; or (f) if you fail to direct us to return or dispose of any Unsuitable Unit within thirty (30) days (or as
otherwise specified in the applicable Program Policies) after we notify you that its removal is required, for instance
because your use of FBA is suspended or terminated or your seller account is suspended, terminated or closed. In
addition, you will reimburse us for expenses we incur in connection with any Unsuitable Units.

F-7.3 You may, at any time, request that we dispose of Units. In this case, we may dispose of these Units as
appropriate based on the inventory (e.g., by selling, recycling, donating, or destroying it) and retain any proceeds
we may receive from the disposal. Title to each disposed Unit will transfer to us (or a third party we select such as
a charity) at no cost, free and clear of any liens, claims, security interests or other encumbrances to the extent
required to dispose of the Unit, and we may retain any proceeds, we may receive from the disposal.

F-7.4 You will promptly notify us of any recalls or potential recalls, or safety alerts of any of Your Products and
cooperate and assist us in connection with any recalls or safety alerts, including by initiating the procedures for
returning items to you under our standard processes. You will be responsible for all costs and expenses you, we or
any of our or your Affiliates incur in connection with any recall or potential recall or safety alerts of any of Your
Products (including the costs to return, store, repair, liquidate, or deliver to you or any vendor any of these
products).

F-8 Customer Service

F-8.1 For Multi-Channel Fulfillment Units we will have no customer service obligations other than to pass any
inquiries to your attention at the contact you provide, and to make available a reasonable amount of information
regarding the status of the fulfillment of Your Products if you request it and if and to the extent we possess the
requested information. You will ensure that all of your policies and messaging to your customers regarding
shipping of Your Products and other fulfillment-related matters, reflect our policies and requirements, including
with regard to shipping methods, returns, and customer service; and, you will conspicuously display on your
website(s), in emails or in other media or communications any specific disclosures, messaging, notices, and policies
we require.

F-8.2 We will be responsible for all customer service issues relating to packaging, handling and shipment, and
customer returns, refunds, and adjustments related to Amazon Fulfillment Units. We will determine whether a
customer will receive a refund, adjustment or replacement for any Amazon Fulfillment Unit and we will require
you to reimburse us where we determine you have responsibility in accordance with the Agreement (including
these FBA Service Terms and the Program Policies). We will promptly notify you when you are responsible for a
customer refund. You may appeal if you disagree with our finding within thirty (30) days after our notification, in
addition to your right to request that Units be returned to you under Section F-7.1. Except as provided in this
Section F-8 regarding any Amazon Fulfillment Units, customer service will be handled in accordance with your
Seller Agreement.

F-8.3 In situations relating to Amazon Fulfillment Units where the wrong item was delivered or the item was
damaged or lost or is missing, unless we determine that the basis for such request is caused by you or any of your
employees, agents, or contractors, we will, at our option: (a) for any Amazon Fulfillment Unit, (i) ship a
replacement Unit to the customer and reimburse you in accordance with the FBA Guidelines for the replacement
Unit, or (ii) process a refund to the customer and reimburse you in accordance with the FBA Guidelines for the
Unit; or (b) for any Multi-Channel Fulfillment Unit, reimburse you in accordance with the FBA Guidelines for the
Unit (and you will, at our request, provide us a valid tax invoice for the compensation paid to you). Any customer
refund will be processed in accordance with the Selling on Amazon and the Transaction Processing Service Terms

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(if the Elected Country for a Service is the United States). Notwithstanding the Selling on Amazon Service Terms,
we will be entitled to retain the applicable fees payable to us under the Selling on Amazon Service Terms and these
FBA Service Terms, respectively. Except as expressly provided in this Section F-8.3, you will be responsible for all
costs associated with any replacement or return.

F-8.4 If we provide a replacement Unit or refund as described in Section F-8.3 to a customer and that customer
returns the original Unit to us, we will be entitled to dispose of the Unit pursuant to Section F-7, or, if it is a Sellable
Unit, we may, at our option, place such Unit back into your inventory in accordance with Section F-6. If we do put a
Unit back into your inventory, you will reimburse us for the applicable Replacement Value (as described in the FBA
Guidelines) of the returned Unit. Any replacement Unit shipped by us under these FBA Service Terms will be
deemed to be, and will be treated in the same manner as, an order and sale of such Unit from you to the customer
via the applicable Amazon Site or Service in accordance with, and subject to, the terms and conditions of this
Agreement and your Seller Agreement.

F-9 Compensation for Fulfillment Services

F-9.1 Handling and Storage Fees. You will pay us the applicable fees described in the applicable Fulfillment by
Amazon Fee Schedule. You will be charged the Storage Fees beginning on the day (up to midnight) that the Unit
arrives at a fulfillment center and is available for fulfillment by Amazon (or in the case of any Unsuitable Unit, the
arrival day (up to midnight)), until the earlier of: (a) the day (up to midnight) we receive a valid customer order for
such product or a request from you to return or dispose of the Unit; or (b) the day (up to midnight) we actually
ship the Unit to your designated return location or dispose of the Unit.

F-9.2 Shipping and Gift Wrap. For any Amazon Fulfillment Units we will determine the amounts charged to the
customer for shipping and gift wrap services for the Units that we fulfill through the FBA Program. As between you
and us, these charges will be your charges to the customer, and we will report them to you. We will charge you
(and you will pay us) a fee equal to the amount of such charges to the customer. In the case of shipments of Units
sold through the Amazon Site that qualify for the "Free Shipping" promotion, the amounts charged to the
customer for shipping the Selling on Amazon Units that Amazon fulfills will first be charged to the customer and
will next be deducted from the total charges to the customer as your promotion and Amazon will not charge you
the fee described above. If you ship Units to us using the shipping rates that we may make available pursuant to
Section F-3.3, you will reimburse us for the actual amounts charged to us by the applicable carrier for such
shipments.

F-9.3 Proceeds. We may as appropriate keep part of or all proceeds of any Units that we are entitled to dispose of
pursuant to F-7 above, or to which title transfers, including returned, damaged, or abandoned Units. You will have
no security interest, lien, or other claim to the proceeds that we receive in connection with the sale, fulfillment,
and/or shipment of these Units.

F-10 Indemnity

In addition to your obligations under Section 6 of the General Terms of this Agreement, you also agree to
indemnify, defend, and hold harmless us, our Affiliates, and our and their respective officers, directors, employees,
representatives, and agents against any Claim that arises from or relates to: (a) the Units (whether or not title has
transferred to us, and including any Unit that we identify as yours pursuant to Section F-4), including any personal
injury, death, or property damage; (b) any of Your Taxes or the collection, payment, or failure to collect or pay Your
Taxes; and, if applicable (c) any sales, use, value added, personal property, gross receipts, excise, franchise,
business, or other taxes or fees, or any customs, duties, or similar assessments (including penalties, fines, or
interest on any of the foregoing) imposed by any government or other taxing authority in connection with the
shipment of Foreign-Eligible Products to Foreign Addresses (collectively, "Foreign Shipment Taxes").



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F-11 Release

You, on behalf of yourself and any successors, subsidiaries, Affiliates, officers, directors, shareholders, employees,
assigns, and any other person or entity claiming by, through, under, or in concert with them (collectively, the
"Releasing Parties"), irrevocably acknowledge full and complete satisfaction of and unconditionally and
irrevocably release and forever fully discharge Amazon and each of our Affiliates, and any and all of our and their
predecessors, successors, and Affiliates, past and present, as well as each of our and their partners, officers,
directors, shareholders, agents, employees, representatives, attorneys, and assigns, past and present, and each of
them and all Persons acting by, through, under, or in concert with any of them (collectively, the "Released
Parties"), from any and all claims, obligations, demands, causes of action, suits, damages, losses, debts, or rights of
any kind or nature, whether known or unknown, suspected or unsuspected, absolute or contingent, accrued or
unaccrued, determined or speculative (collectively, "Losses") which the Releasing Parties now own or hold or at
any time have owned or held or in the future may hold or own against the Released Parties, or any of them, arising
out of, resulting from, or in any way related to the shipment, export, or delivery of Your Products to Foreign
Addresses, including any tax registration or collection obligations. You, on behalf of yourself and all other Releasing
Parties, recognize that you, and each of them, may have some Losses, whether in tort, product liability, contract,
warranty, or otherwise, against the Released Parties of which you, or any of them, are totally unaware and
unsuspecting, or which may arise or accrue after the date you register for or use FBA, which the Releasing Parties
are giving up by agreeing to these FBA Service Terms. It is your intention in agreeing to these FBA Service Terms
that these FBA Service Terms will deprive the Releasing Parties of each and all such Losses and prevent the
Releasing Party from asserting any such Losses against the Released Parties, or any of them. In addition to the
foregoing, you acknowledge, on behalf of yourself and all other Releasing Parties that you are familiar with Section
1542 of the Civil Code of the State of California, as follows:

"A general release does not extend to claims which the creditor does not know or suspect to exist in his favor at
the time of executing the release, which if known by him must have materially affected his settlement with the
debtor."

You, on behalf of yourself and all other Releasing Parties, expressly waive and relinquish any rights that you had or
may have under Section 1542 of the Civil Code of the State of California or any similar provision of the law of any
other jurisdiction, to the full extent that you may lawfully waive all such rights pertaining to the subject matter of
these FBA Service Terms.

F-12 Disclaimer

IN ADDITION TO THE DISCLAIMER IN SECTION 7 OF THE GENERAL TERMS OF THIS AGREEMENT, WE DISCLAIM ANY
DUTIES OF A BAILEE OR WAREHOUSEMAN, AND YOU WAIVE ALL RIGHTS AND REMEDIES OF A BAILOR (WHETHER
ARISING UNDER COMMON LAW OR STATUTE OR OTHERWISE), RELATED TO OR ARISING OUT OF ANY POSSESSION,
STORAGE, OR SHIPMENT OF YOUR PRODUCTS BY US OR OUR AFFILIATES OR ANY OF OUR OR THEIR CONTRACTORS
OR AGENTS.

F-13 Effect of Termination

Your termination rights are set forth in Section 3 of this Agreement. Following any termination of the Agreement
or these FBA Service Terms in connection with a particular Elected Country, we will, as directed by you, return to
you or dispose of the Units held in that Elected Country as provided in Section F-7. If you fail to direct us to return
or dispose of the Units within thirty (30) days (or as otherwise specified in the applicable Program Policies) after
termination, then we may elect to return and/or dispose of the Units in whole or in part, as provided in Section F-
7, and you agree to such actions. Upon any termination of these FBA Service Terms in connection with a particular
Elected Country, all rights and obligations of the parties under these FBA Service Terms in connection with such
Elected Country will be extinguished, except that the rights and obligations of the parties under Sections F-1, F-2,


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F-3, F-4, F-5, F-6, F-7, F-8, F-9, F-11, F-12, and F-13 with respect to Units received or stored by Amazon as of the
date of termination will survive the termination.

F-14 Tax Matters

You understand and acknowledge that storing Units at fulfillment centers may create tax nexus for you in any
country, state, province, or other localities in which your Units are stored, and you will be solely responsible for
any taxes owed as a result of such storage. If any Foreign Shipment Taxes or Your Taxes are assessed against us as
a result of performing services for you in connection with the FBA Program or otherwise pursuant to these FBA
Service Terms, you will be responsible for such Foreign Shipment Taxes and Your Taxes and you will indemnify and
hold Amazon harmless from such Foreign Shipment Taxes and Your Taxes as provided in Section F-10 of these FBA
Service Terms.

F-15 Additional Representation

In addition to your representations and warranties in Section 5 of the General Terms of this Agreement, you
represent and warrant to us that: (a) you have valid legal title to all Units and all necessary rights to distribute the
Units and to perform under these FBA Service Terms; (b) you will deliver all Units to us in new condition (or in such
condition otherwise described by you in the applicable Your Product listing) and in a merchantable condition; (c) all
Units and their packaging will comply with all applicable marking, labeling, and other requirements required by
Law; (d) no Unit is or will be produced or manufactured, in whole or in part, by child labor or by convict or forced
labor; (e) you and all of your subcontractors, agents, and suppliers involved in producing or delivering Units will
strictly adhere to all applicable Laws of the Elected Country, its territories, and all other countries where Units are
produced or delivered, regarding the operation of their facilities and their business and labor practices, including
working conditions, wages, hours, and minimum ages of workers; and (f) that all Foreign-Eligible Products (i) can
be lawfully exported from Canada, Mexico, or the United States, as applicable, without any license or other
authorization; and (ii) can be lawfully imported into, and comply with all applicable Laws of, any eligible country.

FBA Definitions

"Amazon Fulfillment Units" means Units fulfilled using FBA that are sold through an Amazon Site. For avoidance of
doubt, if you have successfully registered for or used both the FBA and Selling on Amazon Services, then the term
"Amazon Fulfillment Units" and the defined term "Amazon Fulfilled Products" in the Selling on Amazon Service
Terms both refer to the same items.

"FBA Excluded Product" means any Unit that is an Excluded Product or is otherwise prohibited by the applicable
Program Policies.

"Foreign Address" means (a) if the Elected Country is the United States, any mailing address that is not (i) within
the fifty states of the United States or Puerto Rico, or (ii) an APO/FPO address; and (b) if the Elected Country is not
the United States, any mailing address that is not within the Elected Country.

"Fulfillment Request" means a request that you submit to us (in accordance with the standard methods for
submission prescribed by us) to fulfill one or more Multi-Channel Fulfillment Units.

"Multi-Channel Fulfillment Units" has the meaning in Section F-2.

"Sellable Unit" means a Unit that is not an Unsuitable Unit.

"Seller Agreement" means the Selling on Amazon Service Terms, the Merchants@ Program Agreement, the
Marketplace Participation Agreement, any successor to any of these agreements, or any other similar agreement

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(as determined by Amazon) between you and us that permits you to offer products and services via a particular
Amazon Site.

"Shipping Information" means with respect to any purchased Unit(s), the following information: the name of the
recipient, the shipping address, the quantity of Units to be shipped, and any other shipping-related information we
may reasonably request.

"Unit" means a unit of Your Product that you deliver to Amazon in connection with the FBA Program.

"Unsuitable Unit" means a Unit: (a) that is defective, damaged, unfit for a particular purpose, or lacking required
label(s); (b) the labels for which were not properly registered with Amazon before shipment or do not match the
product that was registered; (c) that is an FBA Excluded Product or does not comply with the Agreement (including
applicable Service Terms and Program Policies); (d) that Amazon determines is unsellable or unfulfillable; or (e)
that Amazon determines is otherwise unsuitable.

Amazon Clicks Service Terms

Amazon Clicks, including Amazon Sponsored Products ("Amazon Clicks"), is a Service that allows you to advertise
Your Products on Amazon Network Properties.

These Amazon Clicks Service Terms are part of the Agreement, and, unless specifically provided otherwise, concern
and apply only to your participation in Amazon Clicks. BY REGISTERING FOR OR USING AMAZON CLICKS, YOU (ON
BEHALF OF YOURSELF OR THE BUSINESS YOU REPRESENT) AGREE TO BE BOUND BY THE AGREEMENT, INCLUDING
THESE AMAZON CLICKS SERVICE TERMS.

C-1 Amazon Clicks

Your Ads may be displayed or made available on Amazon Network Properties as we determine. We do not
guarantee that Your Ads will be displayed or made available on any Amazon Network Property, or that Your Ads
will appear in any particular position or rank. Notwithstanding any other provision of the Agreement, we may in
our sole discretion restrict, modify or otherwise determine the content, appearance, design, functionality and all
other aspects of Your Ads, and we may remove any of Your Ads without notice. Except to the extent expressly
stated in the Agreement, you are solely responsible for all obligations, risks and other aspects pertaining to the
sale of any of Your Products referred to in Your Ads, including without limitation order processing, order
fulfillment, returns, refunds, recalls, misdelivery, theft, customer service, and collection of taxes. In addition, you
are solely responsible for all ad content, URLs and any other information you submit to us in connection with Your
Ads, and the websites and/or other properties to which Your Ads direct users (other than the Amazon Site).

We may use mechanisms that rate, or allow users to rate, Your Products and/or your performance, and we may
make these ratings and feedback publicly available. We may use any means we determine necessary to review and
monitor Your Ads to improve our service and ad quality.

C-2 Product Information

You will, in accordance with applicable Program Policies, provide, in the format we require, accurate and complete
information for each of Your Ads. You will update this information as necessary to ensure that it is at all times
accurate and complete. You will not provide any information for, or otherwise seek to advertise for sale on any
Amazon Network Property, any products that are unlawful or are otherwise prohibited by applicable Program
Policies.

C-3 Amazon Clicks Requirements

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Using the highest industry standards, you will treat users and customers who link to Your Products via any of Your
Ads with courtesy and respect during all stages of the buying process and resolve to our and their satisfaction in a
timely and professional manner any related customer service matters we or they bring to your attention. You will
ensure that Your Materials and your advertisement, offer, sale and fulfillment of Your Products comply with all
applicable Laws and Program Policies. You will not, directly or indirectly, engage in any fraudulent, impermissible,
inappropriate or unlawful activities in connection with your participation in Amazon Clicks, including: (a) sending
multiple listings of identical products in the same feed or sending multiple feeds under different accounts; (b)
generating fraudulent, repetitive or otherwise invalid clicks, impressions, queries or other interactions, whether
through the use of automated applications or otherwise; (c) collecting any user information from any Amazon
Network Property or retrieving, extracting, indexing or caching any portion of any Amazon website or services or
the websites or services of our Affiliates, whether through the use of automated applications or otherwise; (d)
targeting communications of any kind on the basis of the intended recipient being a user of any Amazon Network
Property; (e) interfering with the proper working of any Amazon Network Property, Amazon Clicks or our systems;
or (f) attempting to bypass any mechanism we use to detect or prevent any of the activities described in this
paragraph.

C-4 Payment and Tax Matters

You will pay us the applicable fees we calculate for your use of the Amazon Clicks Service. Any per Click fee will be
determined solely by Amazon based on the amount you bid for each of Your Ads, consistent with any applicable
product category minimums and Program Policies. You agree to pay us the applicable fees we calculate for your
use of the Amazon Clicks Service in the applicable Local Currency only. In addition to any other means permitted
by the Agreement, we may collect the applicable fees: (a) in accordance with the payment ladder described in the
Program Policies; and (b) on a recurring monthly basis for any remaining unpaid fees accrued after the last ladder
payment charged each month. If we choose to invoice you for amounts due to us under the Agreement, you will
pay the invoiced amounts within 30 days of the date of the applicable invoice. We may require payment of interest
at the rate of 1.5% per month compounded monthly (19.56% compounded annually) or the highest legally
permissible rate, whichever is lower, on all amounts not paid when due until paid in full. You will reimburse us for
all fees incurred in connection with our collection of amounts payable and past due. You waive all claims related to
the fees we charge (including without limitation fees based on suspected invalid Clicks on or invalid impressions of
Your Ads), unless claimed within 60 days after the date charged. You understand third parties may generate
impressions or Clicks on Your Ads for improper purposes, and you accept this risk. Your sole and exclusive remedy
for any suspected invalid impressions or Clicks is to request advertising credits within the timeframe set out above.

C-5 Effect of Termination

Upon any termination of the Term of the Agreement or these Amazon Clicks Service Terms, all rights and
obligations of the parties under these Amazon Clicks Service Terms will terminate, except that Sections C-1, C-2, C-
4, C-5, C-6 and C-7 will survive termination.

C-6 Agents

If you are an Agent: (a) you represent and warrant that you have been appointed as an agent of an Amazon Clicks
Participant, that you are duly authorized to enter into this Agreement on behalf of the Amazon Clicks Participant
and have full power and authority to bind the Amazon Clicks Participant to this Agreement, that all of your actions
related to this Agreement and the Amazon Clicks Service will be within the scope of this agency, and that the
Agreement including these Amazon Clicks Service Terms will be enforceable against the Amazon Clicks Participant
in accordance with its terms; (b) you will, upon our request, provide us written confirmation of the agency
relationship between you and the Amazon Clicks Participant, including, for example, the Amazon Clicks
Participant’s express acknowledgment that you are its Agent and are authorized to act on its behalf in connection
with Amazon Clicks; (c) except as set forth in the Agreement, you will not make any representation, warranty,
promise or guarantee about Amazon Clicks, us or your relationship with us; (d) you will perform your duties

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pursuant to the Agreement including these Amazon Clicks Service Terms in a professional manner consistent with
any requirements we may establish; (e) you will not at any time use information received in connection with
Amazon Clicks to conduct any marketing efforts targeted at our existing advertisers or Amazon Clicks Participants;
(f) you and the Amazon Clicks Participant are each responsible for all payment obligations under these Amazon
Clicks Service Terms, and you and the Amazon Clicks Participant each waive any rights that might require us to
proceed against one or more of you prior to proceeding against the other; and (g) you will abide by all restrictions
applicable to the Amazon Clicks Participant under this Agreement, including without limitation confidentiality and
non-use obligations (e.g., you will not disclose any Confidential Information generated or collected in connection
with Amazon Clicks to any person or entity other than to the Amazon Clicks Participant to which such data or
information relates, and you will not use any Confidential Information generated or collected in connection with
Amazon Clicks for any purpose other than creating, managing, and reporting advertising campaigns on Amazon
Network Properties on behalf of the particular Amazon Clicks Participant that has expressly authorized you to do
so).

C-7 Miscellaneous

C-7.1 Representations

In addition to your representations and warranties in Section 5 of the Agreement, you represent and warrant to us
that: (a) on any website to which Your Ads link (other than on the Amazon Site), you will at all times post and
comply with a privacy policy that complies with all applicable Laws; and (b) Your Materials and any information
displayed on your website or on any website to which Your Ads link (for the Amazon Site, only to the extent such
information is based on Your Materials) comply with all applicable Laws (including without limitation all marking
and labelling requirements) and do not contain any false, misleading, infringing, defamatory, obscene or sexually
explicit materials (except to the extent expressly permitted under applicable Program Policies).

C-7.2 Indemnification

In addition to your obligations under Section 6 of the Agreement, you agree to indemnify, defend and hold
harmless us, our Affiliates, and our and their respective officers, directors, employees, representatives and agents
against any Claim arising from or related to: (a) your participation in Amazon Clicks, including without limitation
the display of any of Your Ads, any Content, data, materials or other items or information to which Your Ads link,
or any actual or alleged infringement of any Intellectual Property Rights by any of the foregoing; (b) your actual or
alleged breach of any representation, warranty, or obligation set forth in these Amazon Clicks Service Terms or the
Program Policies; or (c) if you are an Agent, any breach or alleged breach of Section C-6 or your other
representations, warranties, or obligations set forth in these Amazon Clicks Service Terms.

C-7.3 Disclaimers

IN ADDITION TO THE DISCLAIMERS IN SECTION 7 OF THE AGREEMENT, WE AND OUR AFFILIATES DISCLAIM AND
YOU WAIVE ALL CLAIMS REGARDING ANY GUARANTEES ABOUT TIMING, POSITIONING, ADJACENCY,
PERFORMANCE, QUANTITY OR QUALITY OF (AS APPLICABLE): PLACEMENTS, TARGETING, IMPRESSIONS, CLICKS,
CLICK RATES, CONVERSION RATES, AUDIENCE SIZE, DEMOGRAPHICS OR ADVERTISING COSTS.

C-7.4 API Partner

You may authorize another entity (“API Partner”) to access or use the Amazon Clicks Service on your behalf
through an application program interface or other means as we may designate. Your authorization of an API
Partner to access or use the Amazon Clicks Services is conditioned on our consent, which we may grant or
withdraw at any time in our sole discretion. You will require your API Partner to be bound by, and your API Partner
will comply with, all restrictions applicable to you under this Agreement (including without limitation your


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confidentiality and non-use obligations). As between you and us, you will be fully responsible for the acts,
omissions, and obligations of your API Partner as if such acts, omissions, and obligations were your acts, omissions,
and obligations.

Amazon Clicks Definitions

"Agent" means an advertising agency or other person or entity who represents an Amazon Clicks Participant as its
agent.

"Amazon Clicks Participant" means any person or entity enrolled in Amazon Clicks by you if you are the Agent of
that person or entity.

"Amazon Network Properties" means: (a) the Amazon Site; (b) any website, device, service, feature or other
online point of presence operated by Amazon or any of our Affiliates; and (c) any Amazon Associated Properties.

"Click" means each time a user clicks on any of Your Ads as determined solely by Amazon.

"Your Ads" means any advertisement for Your Product based upon Your Materials that is displayed through
Amazon Clicks.




Transaction Processing Service Terms

BY REGISTERING FOR OR USING ANY SERVICE OTHER THAN AMAZON CLICKS FOR WHICH THE ELECTED COUNTRY IS
THE UNITED STATES, YOU (ON BEHALF OF YOURSELF OR THE BUSINESS YOU REPRESENT) AGREE TO BE BOUND BY
THESE TRANSACTION PROCESSING SERVICE TERMS FOR THAT SERVICE. NOTWITHSTANDING THE FOREGOING, IF A
SEPARATE AGREEMENT GOVERNS THE OFFER, SALE OR FULFILLMENT OF YOUR PRODUCTS ON THE US AMAZON
SITE, THE TERMS OF THAT AGREEMENT WILL CONTINUE TO GOVERN THE PROCESSING OF YOUR TRANSACTIONS
TO THE EXTENT DESCRIBED IN THAT AGREEMENT.

P-1 Payments Processing Agency Appointment

For non-invoiced orders, you authorize Amazon Payments, Inc. to act as your agent for purposes of processing
payments, refunds and adjustments for Your Transactions, receiving and holding Sales Proceeds on your behalf,
remitting Sales Proceeds to Your Bank Account, charging your Credit Card, and paying Amazon and its Affiliates
amounts you owe in accordance with this Agreement or other agreements you may have with Amazon Affiliates.
For invoiced orders, you authorize: (a) Amazon Capital Services, Inc. to act as your agent for purposes of processing
payments, refunds and adjustments for Your Transactions, and receiving and holding Sales Proceeds on your
behalf; and (b) Amazon Services LLC to act as your agent for purposes of remitting Sales Proceeds to Your Bank
Account, charging your Credit Card, and paying Amazon and its Affiliates amounts you owe in accordance with this
Agreement or other agreements you may have with Amazon Affiliates. Amazon Payments, Inc., Amazon Capital
Services, Inc., and Amazon Services LLC are each an “Amazon Payments Agent”. The applicable Amazon Payments
Agents provide the services described in these Transaction Processing Service Terms and the related services
described in Sections S-1.4, S-2.2, S-5, and F-8.3 of the Agreement (collectively, the "Transaction Processing
Services").

When a buyer instructs us to pay you, you agree that the buyer authorizes and orders us to commit the buyer's
payment (less any applicable fees or other amounts we may collect under this Agreement) to you. You agree that
buyers satisfy their obligations to you for Your Transactions when we receive the Sales Proceeds. We will remit
funds to you in accordance with this Agreement.

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P-2 Remittance

Subject to Section 2 of the General Terms of this Agreement, the applicable Amazon Payments Agents will remit
funds to you in accordance with Section S-5 of the Agreement and these Transaction Processing Service Terms.
Each applicable Amazon Payments Agent's obligation to remit funds collected or received by it or otherwise
credited to your available balance in connection with Your Transactions is limited to funds in your available balance
that have become available in accordance with this Agreement less amounts owed to Amazon and any taxes that
Amazon automatically calculates, collects and remits to a tax authority according to applicable law, as specified in
the Tax Policies, subject to chargeback or reversal or withheld for anticipated claims in accordance with this
Agreement. Without limiting Amazon's rights to collect any amounts you owe, the applicable Amazon Payments
Agent's receipt of Sales Proceeds or crediting of Sales Proceeds to your available balance discharges your
obligation to pay applicable fees and other amounts under this Agreement to the extent the Sales Proceeds
received or credited equal or exceed the fees and other amounts you owe and the Sales Proceeds are applied to
the payment of those fees and amounts.

P-3 Your Funds

Your Sales Proceeds will be held in an account with the applicable Amazon Payments Agent (a "Seller Account")
and will represent an unsecured claim against that Amazon Payments Agent. Your Sales Proceeds are not insured
by the Federal Deposit Insurance Corporation, nor do you have any right or entitlement to collect Sales Proceeds
directly from any customer. Prior to disbursing funds to you, an Amazon Payments Agent may combine Sales
Proceeds held with the funds of other users of the Services, invest them, or use them for other purposes permitted
by applicable Laws. You will not receive interest or any other earnings on any Sale Proceeds. To the extent required
by applicable Laws, an Amazon Payments Agent will not use any funds held on your behalf for its corporate
purposes, will not voluntarily make such funds available to its creditors in the event of bankruptcy or for any other
purpose, and will not knowingly permit its creditors to attach such funds.

P-4 Verification

We may at any time require you to provide any financial, business or personal information we request to verify
your identity. You authorize us to obtain from time to time consumer credit reports to establish or update your
Seller Account or in the event of a dispute relating to this Agreement or the activity under your Seller Account. You
agree to update all Seller Account information promptly upon any change. The Amazon Payments Privacy Notice
applies to transactions processed by Amazon Payments, Inc.

P-5 Dormant Accounts

If there is no activity (as determined by us) in connection with your Seller Account for the period of time set forth
in applicable unclaimed property laws and we hold Sales Proceeds on your behalf, we will notify you by means
designated by us and provide you the option of keeping your Seller Account open and maintaining the Sales
Proceeds in your Seller Account. If you do not respond to our notice(s) within the time period we specify, we will
send the Sales Proceeds in your Seller Account to your state of residency, as determined by us based on the
information in your Seller Account. If we are unable to determine your state of residency or your Seller Account is
associated with a foreign country, your funds may be sent to the State of Delaware.

Selling Partner API Terms

API-1 Description of the Selling Partner APIs

The "Selling Partner APIs" enable your systems to interface with certain features or functionality we make available
to you. These Selling Partner API Terms concern and apply only to your use of the Selling Partner APIs unless

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specifically provided otherwise. Under the Selling Partner API Terms, you may authorize parties who (a) develop
Applications to support you using the Selling Partner APIs or the API Materials, (b) have registered with us as
Developers, and (c) who have agreed to the Marketplace Developer Agreement ("Developers") to access Confidential
Information and Your Materials via the Selling Partner APIs. If you wish to use the Selling Partner APIs directly or
develop software or a website that interfaces with the Selling Partner APIs or the API Materials (an "Application"),
you must register as a Developer.


We may make available Selling Partner APIs (including the Marketplace Web Services APIs) and software, data, text,
audio, video, images, or other content we make available in connection with the Selling Partner APIs, including
related documentation, software libraries, and other supporting materials, regardless of format (collectively the "API
Materials") that permit your systems to interface with certain features or functionality available to you. You may
authorize Developers to access your Materials via the Selling Partner APIs solely for the purpose of supporting your
business on Amazon. All terms and conditions applicable to the Selling Partner APIs and the API Materials in this
Agreement are solely between you and us. API Materials that are public or open source software ("Public Software")
may be provided to you under a separate license, in which case, notwithstanding any other provision of this
Agreement, that license will govern your use of those API Materials. For the avoidance of doubt, except to the extent
expressly prohibited by the license governing any API Materials that are Public Software, all of the non-license
provisions of this Agreement will apply.

API-2 License and Related Requirements

API-2.1 Generally.
We grant you a limited, revocable, non-exclusive, non-sublicenseable, nontransferable license during the term of
the Agreement to allow Developers to access and use Your Materials through the Selling Partner APIs and the API
Materials solely in support of your use of the Services covered by this Agreement. As between you and us, we or our
licensors own all right, title, and interest in and to the Selling Partner APIs, the API Materials, any technical and
operational specifications, security protocols and other documentation or policies provided or made available by us
with respect to the Selling Partner APIs or the API Materials (the "Selling Partner API Specifications"), and our internal
data center facilities, servers, networking equipment, and host software systems that are within our or their
reasonable control and are used to provide the Selling Partner APIs or the API Materials (the "Amazon Network").

API-2.2 License Restrictions.
You may authorize Developers to access your Materials through the Selling Partner APIs and the API Materials only
through APIs documented and communicated by us in accordance with any applicable Selling Partner API
Specifications. You may not and may not authorize any other party to do any of the following with the Selling Partner
APIs and the API Materials: (a) reverse engineer, decompile, or disassemble them; (b) modify or create derivative
works based upon them in whole or in part; (c) distribute copies of them; (d) remove any proprietary notices or
labels on them; (e) use any Public Software in any manner that requires, pursuant to the license applicable to such
Public Software, that the Selling Partner APIs and the API Materials be disclosed, licensed, distributed, or otherwise
made available to anyone; (f) resell, lease, rent, transfer, sublicense, or otherwise transfer rights to them; (g) access
or use them in a way intended to avoid incurring any applicable fees or exceeding usage limits or quotas; (h) access
or use them for any purpose unrelated to your use of Services; or (i) access or use them for fraudulent or illegal
activities or activities that violate our policies or are otherwise harmful to us or any third parties. The limitations
regarding Data Use in Section 11 above apply to any information you receive by the direct or indirect use of the
Selling Partner APIs.

API-2.3 No License for Direct Access.
For the avoidance of doubt, these Selling Partner API Terms do not provide you a license to directly access or use
the Selling Partner APIs, or install, copy, use, or distribute API Materials. Direct use of the Selling Partner APIs may
only be licensed to Developers.

API-2.4 Account Identifiers and Credentials.

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You must use the account IDs and any unique public key/private key pair issued by us to provide access to your data
via the Selling Partner APIs ("Account Identifiers and Credentials") in accordance with these Selling Partner API Terms
to authorize Developers to access the Selling Partner APIs on your behalf. You may only authorize access to
Confidential Information and Your Materials via the Selling Partner APIs in the way that we prescribe. Your Account
Identifiers and Credentials are for your personal use only and you must maintain their secrecy and security. You are
solely responsible for all activities that occur using your Account Identifiers and Credentials, regardless of whether
the activities are undertaken by you or a third party (including your employees, contractors, or agents). You will
provide us with notice immediately if you believe an unauthorized third party may be using your Account Identifiers
and Credentials or if your Account Identifiers and Credentials are lost or stolen. We are not responsible for
unauthorized use of your Account Identifiers and Credentials.

API-2.5 Security of Your Materials.
You are solely responsible for authorizing others to access the Selling Partner APIs on your behalf and taking your
own steps to maintain appropriate security, protection, and backup of Your Materials. We are not responsible for
any unauthorized access to, alteration of, or deletion, destruction, damage, loss, or failure to store any of Your
Materials in connection with the Selling Partner APIs (including as a result of your or any third party’s errors, acts, or
omissions).

API-3 Termination

API-3.1 Termination of Your Access to the Selling Partner APIs and the API Materials.
Without limiting the parties’ rights and obligations under this Agreement, the Amazon Marketplace Developer
Agreement, or the Amazon Marketplace API License Agreement, we may limit, suspend, or terminate your access to
the Selling Partner APIs and the API Materials for convenience with 30 days’ notice. We may terminate immediately
if (a) we determine that you have materially breached this Agreement and failed to cure within 7 days of a cure
notice; (b) you or your account have been engaged in deceptive, fraudulent, or illegal activity; or (c) your use of the
Selling Partner APIs and the API Materials may harm our customers.

Upon any suspension or termination of your access to the Selling Partner APIs and the API Materials, you will
immediately cease authorizing others to use the Selling Partner APIs and the API Materials. Upon any termination of
your access to the Selling Partner APIs and the API Materials, you will also immediately destroy all API Materials.
Upon any suspension or termination of your access to the Selling Partner APIs and the API Materials, we may cause
your Account Identifiers and Credentials to cease to be recognized by the Amazon Network for the purposes of the
Selling Partner APIs and the API Materials.




API-4 Modifications to the Selling Partner APIs and the API Materials
We may change or discontinue the Selling Partner APIs or the API Materials (including by changing or removing
features or functionality of the Selling Partner APIs or the API Materials) from time to time. For any material changes
that will negatively affect your business, we will provide notice under Section 18.


API-5 Disclaimers
THE SELLING PARTNER APIS AND THE API MATERIALS ARE PROVIDED "AS IS". WE AND OUR AFFILIATE COMPANIES
AND LICENSORS MAKE NO REPRESENTATIONS OR WARRANTIES OF ANY KIND, WHETHER EXPRESS, IMPLIED,
STATUTORY OR OTHERWISE REGARDING THE SELLING PARTNER APIS OR THE API MATERIALS, INCLUDING ANY
WARRANTY THAT THE SELLING PARTNER APIS OR THE API MATERIALS WILL BE UNINTERRUPTED, ERROR FREE, OR
FREE OF HARMFUL COMPONENTS, OR THAT ANY MATERIALS OR DATA YOU ACCESS, USE, STORE, RETRIEVE, OR
TRANSMIT IN CONNECTION WITH THE SELLING PARTNER APIS, INCLUDING YOUR MATERIALS, WILL BE SECURE OR
NOT OTHERWISE LOST OR DAMAGED. EXCEPT TO THE EXTENT PROHIBITED BY LAW, WE AND OUR AFFILIATE
COMPANIES AND LICENSORS DISCLAIM ALL WARRANTIES, INCLUDING ANY IMPLIED WARRANTIES OF

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QUIET ENJOYMENT, AND ANY WARRANTIES ARISING OUT OF ANY COURSE OF DEALING OR USAGE OF TRADE.
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